Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13562 Filed 05/03/21 Page 1 of 71




                        EXHIBIT 1
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13563 Filed 05/03/21 Page 2 of 71




     MASTER AGREEMENT
                                BETWEEN THE




                 CITY OF DETROIT
                                   AND THE




                    DETROIT POLICE
                 OFFICERS ASSOCIATION


                     2014 - 2019




 CHI-1939680v6
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13564 Filed 05/03/21 Page 3 of 71




                       LAW ENFORCEMENT-CODE OF ETHICS

     As a law enforcement officer, my fundamental duty is to serve mankind; to safeguard lives and
     property; to protect the innocent against deception; the weak against oppression or intimidation;
     and the peaceful against violence or disorder; and to respect the constitutional rights of all
     persons to liberty, equality and justice.

     I will keep my private life unsullied as an example to all; maintain courageous calm in the face
     of danger, scorn or ridicule; develop self-restraint; and be constantly mindful of the welfare of
     others. Honest in thought and deed in both my personal and official life, I will be exemplary in
     obeying the laws of the land and the regulations of my department. Whatever I see or hear of a
     confidential nature or that is confided to me in my official capacity will be kept ever secret
     unless revelation is necessary in the performance of my duty.

     I will never act officiously or permit personal feelings, prejudices, animosities, or friendships to
     influence my decisions. With no compromise for crime and with relentless prosecution of
     criminals, I will enforce the law courteously and appropriately without fear or favor, malice or ill
     will, never employing unnecessary force or violence, and never accepting gratuities.

     I recognize the badge of my office as a symbol of public faith, and I accept it as public trust to be
     held so long as I am true to the ethics of police service. I will constantly strive to achieve these
     objectives and ideals, dedicating myself before God to my chosen profession -- LAW
     ENFORCEMENT.

     The Law Enforcement Officers Code of Ethics, by agreement of the parties, is not a provision or
     article of this contract, but rather is included herein to remind all who read this document of the
     dedication, sacrifice, courage, valor, judgment, wisdom, responsibility, accountability, loyalty
     and professionalism which is displayed by the membership of the Detroit Police Officers
     Association while serving the citizens of the City of Detroit.




     CHI-1939680v6
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13565 Filed 05/03/21 Page 4 of 71




                                           AGREEMENT

     This Agreement is entered into between the City of Detroit, a Michigan Municipal Corporation
     (hereinafter referred to as the “City,” the “Department,” or the “Employer”), and the Detroit
     Police Officers Association, an organization existing under the laws of the State of Michigan
     (hereinafter referred to as the “Union” or the “Association”).

                                   PURPOSE AND INTENT

     The general purpose of this Agreement is to set forth terms and conditions of employment and to
     promote orderly and peaceful labor relations for the mutual interest of the City of Detroit in its
     capacity as an Employer, the Employees, the Union and the people of the City of Detroit.

     The parties recognize that the interest of the community and the job security of the Employees
     depend upon the Employer’s success in establishing proper services to the community.

     To these ends, the Employer and the Union encourage to the fullest degree friendly and
     cooperative relations between the respective representatives at all levels and among all
     employees.

                                        1. DEFINITIONS
     A.      “Association” or “Union” means Detroit Police Officers Association, Inc.

     B.      “Employee” means any person who is a Police Officer below the rank of Detective
             employed by the Detroit Police Department.

     C.      “Department” means the Detroit Police Department.

     D.      “Employer” means the Detroit Police Department or the City of Detroit.

     E.      “Commanding Officer” means the officer officially designated by the Detroit Police
             Department as the commander of a given entity.

     F.      “Reviewing Officer” means the superior officer in charge of the next higher command or
             level above the commanding officer of the employee originating the grievance.

     G.      “Labor Relations” means Labor Relations of the Detroit Police Department.

     H.      “Grievance” means the claimed unjust treatment, violation, misinterpretation, or
             inequitable application of any of the provisions of this Agreement or rules, regulations,
             and procedures covering working conditions applicable to the employees of the
             Department.

     I.      “Association Officer” means any one of the four elected officers of the Association --
             President, Vice-President, Secretary-Treasurer and Sergeant-at-Arms.



     CHI-1939680v6                                   1
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13566 Filed 05/03/21 Page 5 of 71




     J.      “Steward” means the agent of the Association at the lowest departmental unit, that is, the
             representative at the precinct, or entity, or other similar level.

     K.      “Alternate Steward” means the agent of the Association who shall function in the absence
             of the steward.

     L.      “Chief Steward” means the representative of the Association at the precinct level other
             than Association officer.

     M.      “Alternate Chief Steward” means the agent of the Association who shall function in the
             absence of the Chief Steward.

     N.      “Executive Board” means the nine (9) elected members of the Board of Directors of the
             Association and the four (4) elected officers of the Association, as defined in the
             Association’s by-laws.

     O.      “Board of Directors” means all of the stewards and the Executive Board.

     P.      “Grievance Committee” means a committee of not more than three (3) members
             designated by the Union to review, screen and adjust grievances presented by employees.

     Q.      “Shall” and “will” as used in this contract have the same meaning; they are used to
             express what is mandatory or obligatory.

     R.      Pronouns of masculine and feminine gender include each other.

                               2. RECOGNITION OF UNION
     Pursuant to and in accordance with all applicable provisions of Act 336 of the Public Acts of
     1947, as amended, the Employer hereby recognizes the Union as the exclusive representative for
     the purpose of collective bargaining in respect to rates of pay, wages, hours of employment, and
     other terms and conditions of employment for all Police Assistants and Police Officers of the
     Detroit Police Department, below the rank of Detective, for the term of this Agreement.

                                     3. UNION SECURITY
     A.      Employees are free to join or not to join the Union.

     B.      Employees who are not members of the Union and who desire membership in the Union
             shall confirm their desire to join for the duration of this Agreement by initiating their
             Union application form and dues deduction authorization forms within forty-five (45)
             calendar days after the effective date of this Agreement.

     C.      Any person who is employed with the City prior to the effective date of this Agreement
             and is covered by this Agreement who is not a member of the Union and who does not
             make application for membership within forty-five (45) calendar days after the effective
             date of this Agreement shall, as a condition of employment, pay to the Union each month
             a service charge as a contribution toward the administration of this Agreement in an
             amount equal to the regular Union membership dues. Employees who fail to comply

     CHI-1939680v6                                    2
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13567 Filed 05/03/21 Page 6 of 71




             with this requirement shall be discharged by the Employer within thirty (30) calendar
             days after receipt of written notice to the Employer from the Union, unless the City is
             otherwise notified by the Union in writing within said thirty (30) calendar days.

     D.      Any person who becomes an employee of the City after this Agreement is in effect and is
             covered by this Agreement who is not a member of the Union and who does not make
             application for membership within ninety (90) calendar days from the date of
             employment shall, as a condition of employment pay to the Union each month a service
             charge as a contribution toward the administration of this Agreement in an amount equal
             to the regular monthly Union membership dues. Employees who fail to comply with this
             requirement shall be discharged by the Employer within thirty (30) calendar days after
             receipt of written notice to the Employer from the Union, unless the City is otherwise
             notified by the Union in writing within said thirty (30) calendar days.

     E.      All deductions under this Article shall be subject to revocation by the employee who
             executed such assignments, upon giving written notice within thirty (30) calendar days
             immediately prior to the expiration date of this Agreement, to assignees and the Finance
             Director. The Finance Director and the City Treasurer shall thereafter cease withholding
             any money whatever under such assignments.

     F.      The Union shall have no rights or interest whatsoever in any money authorized withheld
             until such money is actually paid over to it; however, the City shall promptly remit said
             monies received to the Union. The City or any of its officers and employees shall not be
             liable for any reasonable delay in carrying out such deductions, and upon forwarding
             check in payment of such deductions by mail to the Union’s last known address, the City
             and its officers and employees shall be released from all liability to the employee and the
             Union under such assignments (Section 13-4-4 of the Municipal Code of the City of
             Detroit).

     G.      If any provision of this Article is invalid under Federal Law, or the laws of the State of
             Michigan, said provision shall be modified to comply with the requirements of Federal or
             State Law or shall be re-negotiated for the purpose of adequate replacement.

     H.      Dues Deduction.

             The Employer agrees to deduct from the wages of bargaining unit employees, all Union
             membership dues, initiation fees and assessments uniformly required, if any, as provided
             in a written authorization in accordance with the standard form used by the Employer
             provided that the said form shall be executed by the employee. The written authorization
             for Union dues deduction or service fee deductions shall remain in full force and effect
             during the period of this Agreement and may only be revoked within the thirty (30)
             calendar day period immediately prior to the expiration of this contract. The revocation
             notice must be given to both the Employer and the Union.

             Dues and initiation fees will be authorized, levied and certified in accordance with the
             constitution and by-laws of the Union. Each bargaining unit employee and the Union
             hereby authorize the City to rely upon and to honor certifications by the Secretary-
             Treasurer of the Union regarding the amounts to be deducted and the legality of the
             adopting action specifying such amounts of the Union dues and initiation fees.
     CHI-1939680v6                                    3
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13568 Filed 05/03/21 Page 7 of 71




     I.      Service Fee Deduction.

             The Employer agrees to deduct from the wages of any bargaining unit employee who is
             not a member of the Union all Union service fees as provided in a written authorization in
             accordance with the standard form used by the Employer provided that the said form
             shall be executed by the employee. The written authorization for service fee deduction
             shall remain in full force and effect during the period of this contract and may only be
             revoked on written notice within the thirty (30) calendars day period immediately prior to
             the expiration of this contract. The revocation notice must be given both to the Employer
             and to the Union.

     J.      The Employer agrees to deduct from the wages of bargaining unit Employees a political
             contribution deduction as provided for in a written authorization in accordance with the
             standard form used by the Employer, provided that the form shall be executed by the
             Employee. The amount to be deducted shall be a set amount which shall be deducted on
             a bi-weekly basis. The Secretary-Treasurer of the Union shall notify the City, in writing,
             of the amount to be deducted. This deduction may be revoked by the Employee at any
             time by giving written notice to both the Finance Department and to the Union.

     K.      The Association shall refund to Employees, dues and service fees erroneously deducted
             by the City and paid to the Association. The City may offset any amount erroneously or
             improperly deducted and paid to the Association from any subsequent remittance to the
             Association.

     L.      The Union agrees that in the event of litigation against the City, its agents, or Employees
             arising out of this provision it will co-defend and indemnify and hold harmless the City,
             its agents, or Employees from any monetary award arising out of such litigation.

                             4. BASIS OF REPRESENTATION
     A.      In each representative Precinct (See Schedule A) Employees shall be represented by one
             (1) steward for each shift, who shall be a regularly scheduled bargaining unit employee
             working in that Precinct and on that shift. One (1) alternate may be selected in each
             Precinct for each shift to serve in the absence of the steward. The member selected shall,
             for the purpose of title only, be considered a steward and not an alternate steward.

     B.      The representative units and number of representatives allocated to each entity are listed
             in Schedule A attached to this Agreement. If any existing precinct, or entity is eliminated
             or any new precinct, or entity is created, or if the number of bargaining unit personnel of
             any existing entity is increased or decreased substantially, the parties to this Agreement
             shall re-negotiate the number of representatives allocated to such entity on a basis
             consistent with the principle of proportional representation.

     C.      Stewards shall be allowed to communicate official Union business to members prior to
             on-duty roll call or following off-duty roll call.

     D.      Only one (1) chief steward and one (1) steward from each shift shall enjoy top seniority
             insofar as remaining with their precinct, section, unit, district or platoon during their term

     CHI-1939680v6                                     4
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13569 Filed 05/03/21 Page 8 of 71




             of office, and they shall not be transferred out of their Precinct, Section, Unit, District or
             Platoon, except for justifiable cause, reduction in force, or in connection with
             civilianization and/or use of Police Assistants in accordance with the terms of this
             Agreement. This provision will apply when reductions in force occur except when a
             Section, Unit, or Platoon is discontinued or otherwise inactivated or consolidated.

     E.      Those nine (9) stewards who are members of the Executive Board of the Union shall be
             allowed a minimum of one (1) working day a month without loss of pay or benefits to
             attend Executive Board meetings.

     F.      Only one (1) steward from each representative Precinct, Section, or Unit shall be excused
             from work without loss of pay or benefits to attend the monthly Board of Directors
             meetings when such meetings coincide with their normal working hours.

     G.      The President, Vice President, Secretary-Treasurer and Sergeant-at-Arms shall be
             allowed to conduct Union business on a full-time basis without loss of pay or benefits.
             When reductions in force occur, the above titled officers will have top seniority under
             Article 10.

     H.      The Union officers upon leaving their positions shall have the right to return to their
             previous assignment.

     I.      Union officers shall be permitted to discuss Union business with members during their
             duty hours, provided such discussions shall not interfere with the performance of the
             member’s duties. Such discussions shall not interfere with the normal operations of the
             precinct, or entity involved.

     J.      In the event of a full mobilization of the Department’s resources, now known as a M02
             complete, the Union officers shall contact the office of the Chief of Police and shall
             remain available during the period of the mobilization for the purpose of establishing a
             Department/Union liaison to deal with any labor relations problem which may arise.

     K.      The Union President, or in his/her absence, the next Union officer in line, shall be given
             written notice, in advance, of anticipated major changes in working conditions.

     L.      A copy of each special order, general order, notation, personnel order, training bulletin
             and materials that are distributed to the general membership shall be sent promptly to the
             Union President through the Department mails.

     M.      A copy of photographs of all Department functions shall be available to the Union upon
             request on each specific occasion.

     N.      Within thirty (30) days after the effective date of this Agreement, the Union President
             shall provide the Chief of Police written confirmation of the names of all stewards, chief
             stewards, the nine (9) stewards who are members of the Executive Board, Union officers,
             designated representatives, and Grievance Committee members who will function in an
             official capacity for the Union. As changes occur, the President shall notify the Chief of
             Police, in writing, within a reasonable time.


     CHI-1939680v6                                     5
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13570 Filed 05/03/21 Page 9 of 71




     O.      The Association may establish a three-member Grievance Committee for the purpose of
             working under the authority of the Union President in processing grievances. Grievance
             Committee members shall receive two (2) working days off per week in order to
             investigate and process grievances. Grievance Committee members may also attend
             those meetings and hearings as set forth in the grievance and arbitration articles of this
             contract and any other meetings or hearings with officials of the City with the permission
             of the Labor Relations Section. Such permission shall not be unreasonably denied.

     P.      The stewards and chief stewards may, during their working hours without loss of time,
             pay or benefits, investigate and present grievances to the Employer, after having obtained
             release from work from their supervisors. Such release shall be within a reasonable time.
             Such privilege shall not interfere with vital police service. The stewards and chief
             stewards shall not be released for simultaneous investigation of grievances, unless
             mutually agreed between the Chief Steward and the Desk Supervisor.

     Q.      Special Conferences on important matters may be requested by either party and will be
             arranged between the Union President or his/her designated representative and either the
             Board of Police Commissioners or their designated representative, or the Chief of Police
             or his/her designated representative. When the Union elects to have a special conference
             with the Board of Police Commissioners, the Union shall submit a copy of the request to
             the Chief of Police.

             Arrangements for such special conferences shall be made five (5) calendar days in
             advance whenever possible and an agenda of matters to be taken up at the meeting shall
             be presented in writing at the time the conference is requested. Matters taken up in
             special conferences shall be confined to those included on the agenda.

                               5. UNION RESPONSIBILITIES
     A.      Recognizing the crucial role of law enforcement in the preservation of the public health,
             safety and welfare of a free society, the Union agrees that it will take all reasonable steps
             to cause the Employees covered by this Agreement, individually and collectively, to
             perform all police duties, rendering loyal and efficient service to the very best of their
             abilities.

     B.      The Union, therefore, agrees that there shall be no interruption of these services for any
             cause whatsoever by the Employees it represents; nor shall there by any concerted failure
             by them to report for duty; nor shall they absent themselves from their work or abstain, in
             whole or in part, from the full, faithful and proper performance of all the duties of their
             employment.

     C.      The Union further agrees that it shall not encourage any strikes, sit-downs, stay-ins, slow-
             downs, stoppages of work, malingering or any acts that interfere in any manner or to any
             degree with the continuity of police services.




     CHI-1939680v6                                    6
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13571 Filed 05/03/21 Page 10 of 71




               6. MANAGEMENT RIGHTS AND RESPONSIBILITIES
      A.      Both the Department and the Association acknowledge their shared responsibility for the
              enforcement of the laws and ordinances of the City of Detroit and the State of Michigan
              as well as for assuring the safety and property of the citizens of the City of Detroit, and
              agree to work together cooperatively to maintain the highest standards of professionalism
              and integrity in the service of the City and its citizens. The Union recognizes the
              prerogatives of the Department to operate and manage its affairs in all respects in
              accordance with its responsibilities and powers of authority and the terms and provisions
              of this Agreement. Except as specifically limited by the provisions of this Agreement or
              applicable law, the Department will have the discretion and authority:

              1.      to hire, direct, classify, assign, reassign, promote, demote, evaluate, transfer,
                      layoff, and/or recall Employees, including the assignment or reassignment of
                      Employees;

              2.      to determine the size of its workforce, including the number of Employees, the
                      number of job classifications, departments, and shifts of work whether increased
                      or decreased;

              3.      to develop, establish, or modify job descriptions and job postings for positions in
                      the Department;

              4.      to determine policies affecting the selection, evaluation and training of
                      Employees;

              5.      to establish and modify hours of work, including the beginning and ending time
                      for shifts of work, whether increased or decreased, and the establishment of the
                      hours of the shifts, whether increased or decreased;

              6.      to determine the content and nature of the work to be performed, and the
                      competencies and qualifications needed to perform the work;

              7.      to determine the organizational structure of the Department, including the
                      planning, direction, control, increase, decrease, or discontinuance of operations or
                      services, and the organization of the same;

              8.      to determine the location and types of facilities, including the establishment of
                      new units, precincts, departments, divisions, or subdivisions thereof and the right
                      to transfer Employees and equipment between and among the Department’s
                      various facilities;

              9.      to establish, regulate, determine, revise, or modify at any time the policies,
                      practices, protocols, processes, techniques, methods, means and procedures used
                      in the Department, including, but not limited to machinery, materials, methods,
                      facilities, tools, and equipment;

              10.     to transfer, relocate, merge, consolidate or close its facilities and operations, in
                      whole or in part, and to separate its Employees in connection with said

      CHI-1939680v6                                    7
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13572 Filed 05/03/21 Page 11 of 71




                      transferring, relocation, merger, consolidation or closing after discussing the
                      effects of such decision with the Association to the extent required by law;

              11.     to create and maintain special units and to select Employees to work within such
                      special units provided that the Department will provide reasonable notice to the
                      Association;

              12.     to establish and enforce policies pertaining to drug testing and substance abuse;

              13.     to assign an Employee to work in a restricted capacity for good cause;

              14.     to enforce state and local licensing, certifications, and other requirements;

              15.     to subcontract or civilianize any job or job function, subject to the limits set forth
                      in Article 39.H of this Agreement; and

              16.     with respect to any other matter related to the enforcement of the laws of the City
                      of Detroit or the State of Michigan and the protection of its citizens and their
                      property.

      B.      The Department has the right to schedule overtime work as required in a manner most
              advantageous to the Department and consistent with requirements of municipal
              employment and the public safety and consistent with the provisions of this Agreement.

      C.      It is understood by the parties that every incidental duty connected with operations
              enumerated in job descriptions is not always specifically described.

      D.      The Department reserves the right to discipline and discharge for just cause and to
              establish reasonable work rules and rules of conduct. The Department reserves the right
              to lay off Employees for lack of work or funds or for the occurrence of conditions beyond
              the control of the Department or when such continuation of work would be wasteful and
              unproductive.

      E.      The City of Detroit is obligated, legally and morally, to provide equality of opportunity,
              consideration and treatment of all members of the Department and to establish policies
              and regulations that will insure such equality of opportunity, consideration and treatment
              of all members employed by the Department in all phases of the employment process,
              without regard to race, color, creed, national origin, citizenship status, religion, age,
              political orientation, sex, sexual orientation, genetic information, arrest record, height,
              weight, familial status, marital status, or disability, in accordance with applicable State
              and Federal laws. To this end, basic rights and equities of members are established
              through the City Charter, Executive Orders of the Mayor, Ordinances and Resolutions of
              the City Council and the rules of the Department.

      F.      The Department shall notify in advance, in writing, the Association President, or in his
              absence the next officer in line, when it anticipates exercising its right to make changes in
              working conditions. Conferences to discuss said anticipated changes shall be conducted
              at the request of either party. Such conferences shall not be construed as “formal”
              negotiations. Provided however, in no event shall the City make decisions which alter

      CHI-1939680v6                                     8
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13573 Filed 05/03/21 Page 12 of 71




              the relationship between the parties in regard to wages, hours, and the terms and
              conditions of employment as set forth in this Agreement. Any changes in that area
              require renegotiations of the contract.

      G.       No Department official or agent of the City shall:

              1.      Interfere with, restrain, or coerce Employees in the exercise of their right to join
                      or refrain from joining a labor organization, except where permitted by law to
                      avoid a conflict of interest; or

              2.      Initiate, create, dominate, contribute to or interfere with the formation,
                      administration, internal affairs, elections, meetings, dues policies or officers, of
                      the Association; or

              3.      Discriminate in regard to employment or conditions of employment in order to
                      encourage or discourage membership in a labor organization; or

              4.      Discriminate against an Employee because he has given testimony or taken part in
                      any grievance procedures or other hearings, negotiations, or conferences as a part
                      of the labor organization recognized under the terms of this Agreement; or

              5.      Refuse to meet, negotiate, or confer on proper matters with representatives of the
                      Association as set forth in this Agreement.

      H.      It is agreed that the City retains and reserves all rights, powers and authorities given to it
              under any national, state or local law unless otherwise negotiated in this Agreement.

      I.      The Union pledges full support for continuity of employment during normal or
              emergency working conditions.

      J.      The Department shall comply with applicable laws pertaining to labor and employment
              matters.

                                 7. GRIEVANCE PROCEDURE
      A.      Every Employee of the Department shall have the right to present grievances in
              accordance with the procedure provided herein. The Association will hand deliver
              grievances directly to a Captain or Commander. The written grievance will set forth the
              nature of the grievance, the date of the matter complained of, the name(s) of the
              employee or employees involved, and the provisions of this Agreement, if any, that the
              grievant claims have been violated. Receipt of the grievance will be acknowledged by
              signature of the Captain or Commander who receives the grievance. Any grievance not
              filed within fourteen (14) calendar days of the occurrence of the alleged violation or
              within fourteen (14) calendar days of an Employee or the Association becoming aware of
              an alleged violation will be considered untimely and will not be processed.

      B.      The informal resolution of differences or grievances is urged and encouraged to be
              resolved at the lowest possible level of supervision.


      CHI-1939680v6                                     9
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13574 Filed 05/03/21 Page 13 of 71




      C.      Immediate supervisors, commanding officers and reviewing officers shall consider
              promptly all grievances presented to them and, within the scope of their authority, take
              such timely action as is required.

      D.      Grievances shall be processed according to the following procedure

              STEP 1 - Written – Sergeant, Lieutenant, or Captain:

              The sergeant, lieutenant, or captain will provide a written answer to the steward within
              seven (7) calendar days after receipt. Acceptance or rejection of the answer will be
              written on the grievance form by the steward.

              STEP 2 - Appeal to Commanding Officer of the Precinct or Division:

              If the grievance is not satisfactorily adjusted at Step 1 or acted upon by the sergeant,
              lieutenant, or captain within seven (7) calendar days, it may be appealed by the chief
              steward to the Commanding Officer of the precinct or division within three (3) calendar
              days. The Commanding Officer will discuss the grievance with the steward, chief
              steward, or both, and the aggrieved Employee(s) and render a written answer within
              seven (7) calendar days of his/her receipt of the grievance.

              STEP 3 - Appeal to the Chief of Police:

              If the grievance is not satisfactorily settled or adjusted in Step 2, it will be referred to the
              President of the Association or his designated representative, who may appeal it to the
              Chief of Police within fifteen (15) calendar days. A meeting to discuss the grievance will
              be held between the President or his designee, or both, and members of the grievance
              committee, and the Chief of Police or his designee within ten (10) calendar days after
              receipt of the grievance by the Chief of Police. A written decision will be rendered by
              the Chief, or his designated representative, within ten (10) calendar days of the meeting.
              By mutual agreement, the parties may extend the timeline in order to enable the Chief of
              Police to participate directly.

              Medical Grievance Procedure:

              The Labor Relations Division will provide notice to the President of the Association and
              the Employee’s Commander of all grievances involving medical issues

      E.      Notwithstanding any other provisions herein, individual Employees may present their
              own grievances to the Department and have them adjusted without the intervention of the
              steward or Union officers; provided, however, that the Department has given the steward
              or Union officers notice and an opportunity to be present at such adjustment. In no event
              shall any such adjustment be contrary to or inconsistent with the terms of any agreement
              between the Department and the Union.

      F.      Grievances not appealed in writing to the next step within the time limits set forth above
              will be considered settled on the basis of the last decision, provided that any grievance
              not responded to by the Department within the time limits set forth above will be


      CHI-1939680v6                                     10
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13575 Filed 05/03/21 Page 14 of 71




              automatically moved to the next step in the grievance procedure. Additionally, the time
              limits of the grievance procedure may be shortened or extended by mutual agreement.

      G.      Grievances affecting a large number of employees or concerning a transfer between
              commands may be treated as policy grievances and entered at the third step of the
              grievance procedure by the Union. One or more members of the Grievance Committee
              may attend hearings on policy grievances entered at Step 3 with the permission of the
              Labor Relations Section. Such permission shall not be unreasonably refused.

      H.      In instances wherein the subject matter of the grievance lies within the jurisdiction of
              specific City agencies (e.g., payroll, etc.), the grievance steps may be reduced in order to
              bring the grievance to the agency’s immediate attention for a recommendation as to the
              action to be taken. Further, the Chief of Police and the President of the Association will
              be permitted, at their discretion, to participate at any step of the grievance procedure.

      I.      Binding Mediation Procedure. By mutual agreement, the parties may submit certain
              disputes to an abbreviated binding mediation procedure in lieu of arbitration. The parties
              will identify at least one (1) permanent arbitrator from the permanent panel selected
              under Article 8 who shall schedule one (1) additional hearing date each month. Prior to
              each scheduled hearing date, each party may submit up to five (5) grievances and
              disciplinary matters for a binding recommendation by the arbitrator serving as a
              mediator. Each party shall provide the other party and the arbitrator with advance notice
              of the matters to be presented, including relevant documentation. Either party may reject
              a matter that is proposed to be heard. The mediation hearing shall be informal and the
              parties agree to be bound by the recommendation of the arbitrator serving as a mediator.

                                          8. ARBITRATION
      A.      Any unresolved grievance relating only to the interpretation, application or enforcement
              of a specific article and section of this Agreement or any Supplementary Agreement,
              hereto, having been processed fully through the last step of the grievance procedure, may
              be submitted to arbitration by the Department or the Association in strict accordance with
              the following:

              1.      Arbitration may be initiated by written notice to the other party of an intention to
                      arbitrate. Such written notice of intent to arbitrate must be made within ten (10)
                      calendar days after receipt of the Step 3 answer.

              2.      Selection of Arbitrator and Permanent Panel

                      a.     Within thirty (30) calendar days after the execution of this Agreement, the
                             parties shall convene and select four (4) disinterested persons qualified in
                             labor-management relations to serve as permanent arbitrators. If the
                             parties are unable to agree upon four (4) individuals to serve as permanent
                             arbitrators, for each unfilled position, the Director of the Michigan
                             Employment Relations Commission (MERC) shall be requested to submit
                             the names of five (5) disinterested persons qualified and willing to act as
                             impartial arbitrators. From each list, the Department and Union shall each

      CHI-1939680v6                                    11
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13576 Filed 05/03/21 Page 15 of 71




                             alternately strike one name until four (4) names have been eliminated and
                             the person whose name remains on the list shall be selected to act as one
                             of the four (4) permanent arbitrators.

                      b.     If at any time either party desires to terminate the service of an arbitrator,
                             it shall give notice in writing to that effect to the other party, specifying
                             the date of termination. The parties shall then send a joint written notice
                             to the arbitrator of his termination. Neither party may terminate the
                             services of an arbitrator unless he has heard at least one (1) case.

                      c.     Once the arbitrator has received written notice that his services are
                             terminated, he shall not hear any further cases. However, he shall render
                             decisions on all cases that he has heard prior to receiving such notice.

                      d.     In the event an arbitrator is terminated, a new arbitrator shall be
                             immediately selected in accordance with the procedure described in
                             Section 2.a.

                      e.     The arbitrators will hear cases on a chronological rotation.

              3.      It will be within the authority of the arbitrator to make a decision binding upon
                      the parties regarding the interpretation, application, or enforcement of the
                      Agreement.

              4.      The arbitrator will not consider any evidence submitted by either party, which
                      was not produced in the grievance procedure unless such evidence was not then
                      known to the party submitting the same.

              5.      The costs of the arbitration will be shared equally by the parties, except that each
                      party will make arrangements to pay its own attorneys and witnesses. In cases
                      where the arbitrator provides that either party has filed or denied a grievance in
                      bad faith, the arbitrator will have the discretion to assess all costs and expenses of
                      the arbitration hearing, including reasonable attorneys’ fees, against the non-
                      prevailing party.

              6.      The parties may request in writing of each other co-operation to have available at
                      the arbitration proceedings any witnesses requested by the other party.

              7.      If the central issue in the unresolved grievance is an Employee’s medical
                      condition, which may be the case in matters pertaining to sick leave,
                      qualifications to perform work, requests for light duty assignments, or
                      accommodation of disabilities, the arbitration procedure specified in this Article
                      will not apply, and the parties will instead select a neutral physician to resolve any
                      disputes concerning medical issues. Such a neutral physician must be licensed to
                      practice and currently practicing medicine. The neutral physician will be jointly
                      selected by the Department and the Association. To the extent the Department
                      and Association cannot agree on a neutral physician, the neutral physician will be
                      mutually selected by the Employee’s treating physician and the Police
                      Department’s designated physician. Upon request, the City will provide medical

      CHI-1939680v6                                    12
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13577 Filed 05/03/21 Page 16 of 71




                      information to the Union in accordance with applicable law. The Department and
                      the Association may mutually agree to establish further guidelines regarding the
                      processing of medical grievances.

      B.      There shall be no appeal from the decision of an arbitrator if made in accordance with his
              or her jurisdiction and authority under this Agreement. It shall be final and binding on
              the Association, on all bargaining unit members, and on the Department. The
              Association will actively discourage attempts by any bargaining unit Employee to appeal
              a decision of the arbitrator to any Court or labor board, and will not aid or abet in any
              such attempt.

      C.      In the event a case is appealed to the arbitrator and he/she finds that the arbitrator has no
              power or authority to rule on such case, the matter shall be referred back to the parties
              without decision or recommendation on the merits of the case.

      D.      The decision of an arbitrator in any case shall not require a retroactive wage adjustment
              in any other case. Either party may, prior to the submission of a dispute to arbitration,
              state, and the opposite party is bound to agree, that the award not be binding precedent in
              analogous situations pending at that time.

      E.      The arbitrator shall limit his/her decision strictly to the interpretation, application or
              enforcement of the specific articles and sections of this Agreement, and he/she shall be
              without power or authority to make any decisions:

              1.      Contrary to, or inconsistent with or modifying or varying in any way, the terms of
                      this Agreement or of applicable laws covering the terms of this Agreement.

              2.      Involving the exercise of discretion by the City under the provisions of this
                      Agreement, its Charter or applicable laws, so long as the exercise of this
                      discretion does not conflict with this Agreement.

              3.      Limiting or interfering in any way with the powers, duties or responsibilities of
                      the City under its Charter or applicable laws covering the terms of this
                      Agreement.

              4.      Contrary to, inconsistent with, changing, altering, limiting or modifying any
                      practice, policy, rules or regulations presently or in the future established by the
                      City so long as such practice, policy, rules or regulations do not conflict with this
                      Agreement.

              5.      Implying any restriction or condition binding upon the City from this Agreement,
                      it being understood that, except as such restrictions or conditions upon the City
                      are specifically set forth herein, or are fairly inferable from the express language
                      of any article and section hereof, the matter in question falls within the City’s
                      management rights under Article 6.

              6.      Concerning the establishment of wage scales, rates on new or changed jobs, or
                      change in any wage rate.


      CHI-1939680v6                                    13
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13578 Filed 05/03/21 Page 17 of 71




              7.      Providing agreement for the parties in those cases where, by their contract, they
                      may have agreed that further negotiations should occur to cover the matters in
                      dispute.

              8.      Granting any right or relief for any alleged grievance occurring at any time other
                      than the contract period in which such right originated.

                                            9. DISCIPLINE
      A.      The Department reserves the right to discipline, discharge, or demote Employees for just
              cause.

      B.      Investigation/Discipline.

              1.      Investigations regarding any potential or alleged misconduct, actions, or
                      omissions that may result in discipline will be completed as expeditiously as
                      practicable. If the Department determines that disciplinary action is warranted,
                      such discipline will be issued as soon as practicable after the completion of the
                      investigation. The Department shall provide written notice of the disciplinary
                      action (“Notice of Discipline”) to the Employee, with a copy to the Association,
                      stating the Employee’s violation, the date, time, and location of the violation, a
                      concise statement setting forth the relevant facts, and the disciplinary penalty.
                      Except as set forth in Sections F, H, and I below, no discipline will be
                      implemented or incorporated into an Employee’s file until the completion of the
                      applicable procedures set forth below.

              2.      In all cases when a supervisor has reason to believe that an Employee has
                      committed acts warranting discipline and contemplates issuance of disciplinary
                      action, the supervisor shall inform the Employee and allow the Employee the
                      opportunity to have union representation to the extent required by applicable law.
                      Exceptions to this procedure would be in situations where the Employee is absent
                      without leave and is not reasonably reachable.

      C.      Chief’s Hearing. Except as set forth in Section H, within two (2) days of the receipt of a
              disciplinary action, an Employee may appeal the discipline to a Chief’s Hearing (which
              will be presided over by the Chief or his/her designee). The Chief’s Hearing is a non-
              adversarial proceeding, which must be held within seven (7) days of the date the
              discipline was issued. An Employee will have the right to review the investigation and
              charges against him, and make a statement of explanation. The Chief or his/her designee
              presiding over the Chief’s Hearing will have the authority to rescind the discipline, affirm
              the discipline, or lower the level of discipline, but may not increase the disciplinary
              penalty from what was stated in the Notice of Discipline. An Employee, with approval of
              the Association, may elect to appeal any decision from a Chief’s Hearing to expedited
              arbitration when a suspension of more than three (3) days has been rendered. Subject
              only to the Chief’s discretion, any written reprimand or disciplinary suspension of three
              (3) days or less will be considered final and binding with no right of appeal.



      CHI-1939680v6                                   14
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13579 Filed 05/03/21 Page 18 of 71




      D.      Voluntary Mediation. The parties may mutually agree to submit a dispute to mediation
              under terms agreeable to the parties.

      E.      Expedited Arbitration. To the extent that a dispute regarding a suspension of more than
              three (3) days or the discharge of an Employee cannot be resolved through the Chief’s
              Hearing or mediation (if applicable), an Employee, with the approval of the Association,
              will have the right to appeal the disciplinary action to expedited arbitration. The
              disciplinary action must be appealed to arbitration by providing written notice to the
              Department within seven (7) days of the date of the decision resulting from the Chief’s
              Hearing. Any information requests shall accompany the request to arbitrate. The
              Department will provide responsive information to the extent required by applicable law,
              and within thirty (30) days of receipt of the Association’s requests. The arbitration
              hearing must be held within sixty (60) days of the date the appeal was filed by the
              Employee, so long as an arbitrator on the panel has availability within a sixty (60) day
              period.

              1.      Both the Employee and the Department will have the right to be represented by
                      counsel, to introduce evidence, and to present and cross-examine witnesses.

              2.      The arbitrator will issue his or her Award in writing within five (5) days of the
                      hearing. An explanatory opinion shall follow as soon as practicable.

              3.      The costs of the arbitration will be shared equally by the parties.

              4.      The parties may request in writing of each other cooperation to have available at
                      the arbitration proceedings any witnesses requested by the other party.

              5.      The decision of the arbitrator will be final and binding on the Employee and the
                      Department subject to the Chief’s Authority as set forth in Section G.

              6.      Arbitration cases under this Article will be heard by an arbitrator on the panel
                      detailed in Article 8. Such arbitrators will hear cases on a chronological rotation
                      subject to arbitrator availability. To the extent no arbitrator on the panel is
                      available to hear the case within sixty (60) days, the arbitrator with the next
                      available date to hear the case will be selected. Where an Employee is suspended
                      without pay, the arbitration shall be scheduled with the next available arbitrator
                      without regard to the sixty (60) day time period.

      F.      Discharge Cases. Where a decision is made to discharge an Employee, that Employee
              will be suspended without pay pending the outcome of the disciplinary process set forth
              in this Article.

      G.      Chief’s Authority. The Chief of Police, at his or her sole discretion, may rescind or
              mitigate any disciplinary action at any step of the disciplinary process including, but not
              limited to, after the conclusion of an arbitration. However, the Chief of Police shall have
              no authority to increase any disciplinary action after the conclusion of an arbitration.

      H.      Written Reprimand. All written reprimands will be issued and implemented as soon as
              practicable following an investigation. Written reprimands will remain in employees’

      CHI-1939680v6                                    15
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13580 Filed 05/03/21 Page 19 of 71




              files for a period of time not to exceed two (2) years from the date of issuance of the
              reprimand.

      I.      Informal Counseling. The Department may conduct informal counseling sessions
              concerning minor misconducts, actions, or omissions. Such counseling sessions will not
              be considered disciplinary action, but the substance of the counseling session may be
              reduced to writing and added to an Employee’s file for up to one (1) year.

      J.      Department Right to Immediately Suspend Employee. The Department shall have the
              right to immediately suspend an Employee with pay in order to preserve order within the
              Department and/or in those cases where an Employee is the subject of a criminal
              investigation. Moreover, the Department shall have the right to suspend an Employee
              without pay in accordance with the terms of the Detroit Police Department Manual.
              However, the Department must follow the procedures set forth in this Article before any
              discipline relating to the conduct underlying such suspension is incorporated into an
              Employee's file.

                                            10. SENIORITY
      A.      Seniority Defined. Seniority is defined as the length of continuous service with the
              Police Department of the City of Detroit as a police officer. Seniority is not the same as
              “service time” as that term may be used in connection with the various economic benefit
              provisions.

      B.      Continuous Service. Continuous service shall mean employment by the City of Detroit
              without interruption or breaks. The following shall not be considered breaks in service.

              1.      Service in the Armed Forces of the United States up to five (5) years, or longer if
                      such service is exempt under applicable law.

              2.      Absence from work due to injuries compensated for under the Workers’
                      Compensation Act of the State of Michigan.

              3.      Lay off as a result of a reduction in force for a period not exceeding two (2) years.

              4.      Other approved leaves of absence for a period not exceeding one (1) year.

      C.      Personal Leave. Employees may be granted a personal leave by the City for up to one (1)
              year. Seniority accrued prior to the leave will be retained but Employees will not
              accumulate additional seniority for the period of the leave, except that this provision shall
              not apply to leaves related to the military.

      D.      Forfeiture. An Employee shall forfeit seniority rights for the following reasons:

              1.      Resignation.

              2.      Retirement.

              3.      Discharge.

      CHI-1939680v6                                    16
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13581 Filed 05/03/21 Page 20 of 71




              4.      If an Employee fails to report to work for five (5) consecutive days without
                      providing proper notice to the Department, unless the Employee, in the judgment
                      of the Department, is completely incapacitated through no fault of his/her own or
                      subject to some other emergency situation that, through no fault of his/her own,
                      makes him/her unable to report said absence and is able to supply sufficient proof
                      thereof.

              5.      If an Employee fails to report within five (5) days after leave of absence, vacation,
                      or suspension or, if the Employee receives notice from the Department by
                      certified letter that his/her leave of absence has been terminated, within five (5)
                      days after receipt of such certified letter.

              6.      Failure of a laid-off Employee to notify the Department of his/her intent to return
                      to work within seven (7) days after notice has been sent by the Department to the
                      laid-off Employee at his/her last address on the Department’s records at time of
                      layoff.

              7.      Absence from work for any reason (including lay-off) in excess of two (2) years,
                      except as set forth in Section B.1 of this Article.

      E.      Probationary Employees.

              1.      The probationary period for new Employees shall be eighteen (18) months from
                      the date of hire, or twelve (12) months from the date of graduation from the
                      Detroit Metropolitan Police Academy, whichever is earlier. New Employees shall
                      acquire seniority twelve (12) months after their date of hire. Once a member has
                      completed the Detroit Metropolitan Police Academy and has been assigned a
                      command, the Department shall continue the existing practice of utilizing the
                      appointment date of a probationary employee with regard to: leave days,
                      furloughs, holidays, prescheduled overtime, involuntary transfers and in other
                      circumstances where the appointment date has been used.

      F.      Transfers.

              1.      Transfers between precincts and entities will be made using a Department transfer
                      list maintained by the Personnel Unit. Such list will be created from transfer
                      requests submitted by Employees on form DPD #402. Separate lists should be
                      maintained for each rank.

                      a.     Transfer requests shall be valid for a period until October 1st each year.
                             Continuation requests may be submitted on or after August 15th.

                      b.     Whenever openings occur in precincts or entities, the Employee to be
                             transferred will be selected from the transfer list based upon knowledge,
                             training, experience, performance evaluation ratings, certifications, ability,
                             skills, disciplinary history, attendance, safety record, efficiency, and
                             seniority. When all other qualifications are equal, the senior qualified
                             Employee who submitted a transfer request will be selected.


      CHI-1939680v6                                    17
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13582 Filed 05/03/21 Page 21 of 71




                      c.     Employees submitting transfer requests will not be unreasonably denied
                             placement on the transfer list. To deny an Employee’s request, the
                             Department must verify with factual information that the Employee is not
                             qualified for the requested transfer. Such decisions may be appealed
                             utilizing the grievance and arbitration procedures set forth in this
                             Agreement.

                      d.     With the exception of releasing information pertaining to a current
                             criminal investigation, an Employee who is denied placement on the
                             transfer list will be advised in writing of the reasons for such denial upon
                             request.

                      e.     The Employee will be notified of the result of his request for transfer
                             within thirty (30) days of the submission of the form DPD #402.

                      f.     Voluntary transfers to vacant positions will be awarded based on merit.
                             The Department will consider knowledge, training, experience,
                             performance evaluation ratings, certifications, ability, skills, disciplinary
                             history, attendance, safety record, efficiency, and seniority. If all other
                             qualifications are equal, the senior qualified Employee will be selected.

              2.      Should the need arise for a temporary assignment from one precinct patrol
                      location to another, the temporary assignment may not exceed one hundred and
                      twenty five (125) working days. At the expiration of this period, the Employee
                      will be immediately returned to his former position. In no event shall the
                      Department utilize temporary assignments to circumvent the transfer provisions
                      of this Section or as a form of discipline. The parties further stipulate that the
                      Department’s authority to make temporary assignments under this Section must
                      be exercised reasonably.

              3.      Notwithstanding the foregoing, the Chief of Police has the right to permanently
                      transfer an Employee from one precinct patrol location to another based upon
                      good cause shown upon review of the entire case.

              4.      Once placed on a DPD #350, the Commanding Officer of the transfer requested
                      entity may, upon request, have the Employee removed from the transfer list to
                      that entity.

              5.      Blue Slip Units. Notwithstanding any provisions in this Agreement that could be
                      construed to the contrary, the Chief of Police may make transfers involving Blue
                      Slip units at his or her sole discretion. The Department shall provide the
                      Association with a list of current Blue Slip units as of the effective date of this
                      Agreement. From time to time, the Chief of Police may designate other units as
                      Blue Slip Units, provided that a precinct patrol unit may not be designated as a
                      Blue Slip Unit. The Chief of Police, or his or her designee, will meet and confer
                      with the Association before designating a unit as a Blue Slip Unit.




      CHI-1939680v6                                   18
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13583 Filed 05/03/21 Page 22 of 71




      G.      Assignments.

              1.      A request for assignments within a precinct, or entity once an Employee is
                      assigned there, can be made by submitting DPD Form #31 (referred to as a Blue
                      Slip) to the Commanding Officer. The request shall be valid for a period until
                      October 1st each year. An Employee may have only one (1) assignment request
                      on file at any time; the most recent request will replace the earlier requests.
                      Whenever openings occur within precincts or entities, the Department will
                      consider knowledge, training, experience, performance evaluation ratings,
                      certifications, ability, skills, disciplinary history, attendance, safety record,
                      efficiency, and seniority. If all other qualifications are equal, the senior qualified
                      Employee will be selected.

                      In order to determine when such receipt occurred, a copy of the job assignment
                      request, dated and signed by the supervisor who received the request and the time
                      he/she received it, shall be provided to the member.

              2.      Moreover, notwithstanding any provisions in this Agreement that could be
                      construed to the contrary, the Chief of Police may exclude assignments from the
                      above procedure and make assignments involving Blue Slip units at his or her
                      sole discretion.

      H.      General Seniority Provision.

              An up-to-date seniority list showing the names, length of service dates, and Departmental
              assignments shall be furnished to the Union every six (6) months. A copy of the list shall
              be maintained in all precincts for inspection by members.

      I.      Lay-off and Recall.

              1.      When there is an impending reduction in force within the bargaining unit, the City
                      shall inform and consult with the Association as soon as practicable.

              2.      In the event of a reduction in force in the Police Department, it shall be made
                      among Employees by seniority.

                      a.     The Employees with the least amount of service shall be the first laid off
                             and last to be recalled.

                      b.     A demotion to the next lower rank shall be required before a layoff,
                             provided the Employee had prior time in the classification to which
                             demoted.

                      c.     Any officer demoted due to a reduction in force shall be promoted back in
                             the reverse order of demotion without any competitive re-examination for
                             the classification from which he was demoted.




      CHI-1939680v6                                    19
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13584 Filed 05/03/21 Page 23 of 71




              3.      Any grievance submitted concerning a layoff will be submitted at the third step of
                      the grievance procedure and the parties expressly agree that they will expedite the
                      final resolution thereof.

      J.      Reinstatement and Reappointment.

              1.      Reinstatement. A former member may, upon written request, be considered for
                      reinstatement into the rank of police officer. Such request may be honored, at the
                      discretion of the Chief of Police, provided that it is made prior to the expiration of
                      two (2) years from the date of separation from service; the member was in good
                      standing at the time of the separation; and the former member is still physically
                      qualified. Persons so requesting shall submit a written request in letter form to
                      the Chief of Police, who shall direct the Recruiting Section to conduct an
                      investigation of the former member’s activities during the period of absence to
                      determine the applicant’s qualifications to return to duty. The investigation report
                      from the Recruiting Section shall be forwarded to the Chief of Police for
                      appropriate action prior to reinstatement. Such investigation shall be conducted
                      regardless of the reason for the separation. Persons so reinstated will lose all
                      longevity pay time. Seniority for time absent from the job will be lost; however,
                      unused accrued sick time will be returned to the member’s sick bank. At the
                      discretion of the Chief of Police, a member who has been reinstated may be
                      required to attend a complete recruit training program or portion thereof, at the
                      Detroit Metropolitan Academy.

              2.      Reappointment. A former member who has been separated from the Department
                      for a period of two (2) years or more may apply for reappointment to the rank of
                      police officer. Reappointment is a re-hire procedure, and a former member
                      applying for reappointment will be placed on an eligibility list, provided that the
                      former member meets all requirements for appointment to the Department under
                      current recruit hiring practices. Persons reapplying to the Department and
                      approved for reappointment by the Recruiting Section must have final approval
                      by the Chief of Police. Should the person be re-appointed, all longevity pay time
                      will be lost, plus all previously unused sick time. All previous seniority will be
                      lost until a one (1) year probationary period is completed, at which time an
                      adjusted seniority date will be furnished, excluding the time the member was
                      absent from the job, strictly for Department purposes.

              3.      Salary Status. The salary of reinstated or re-appointed members will be reduced
                      by one (1) step for each full year of absence. Any officer above the rank of police
                      officer who resigns and is subsequently reinstated or re-appointed is precluded
                      from returning to the member’s former rank. Should an officer of the rank of
                      sergeant or above resign and then be reinstated or re-appointed, and at a future
                      date be promoted, the time in rank previous to the resignation shall not be counted
                      as seniority within the rank.

              4.      Military Service. The foregoing limitations other than physical qualifications
                      shall not be applicable to those members who return from active military service
                      and are entitled to re-employment under Federal law. Such written request must

      CHI-1939680v6                                    20
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13585 Filed 05/03/21 Page 24 of 71




                      be made within ninety (90) days after the expiration of government service.
                      However, to facilitate prompt processing of the reinstatement application, persons
                      are encouraged to request reinstatement prior to separation from military service.

                                  11. GENERAL CONDITIONS
      A.      The Department will furnish for the use of the Union, space for a bulletin board at each of
              its precincts or entities where Union members are assigned. Bulletin boards shall be used
              only for the following notices:

              1.      Recreational and social affairs of the Union

              2.      Union meetings

              3.      Union elections

              4.      Information of happenings of other departments or unions

              5.      Reports of the Union

              Notices and announcements shall not contain anything of a political nature except notices
              with respect to internal elections. Notices and announcements shall not contain anything
              of a libelous nature.

      B.      An Employee shall not use his privately owned vehicle for any police purpose.

      C.      Employees are urged to keep their commanding officers informed of where they can be
              reached whenever they are out of town off duty for periods of forty-eight (48) hours or
              less. For absences of longer periods, Employees must so inform their commanding
              officers.

      D.      Safety glasses and ear protectors shall be provided at all police firing ranges.

      E.      Lockers of individual officers shall not be opened for inspection except with permission
              of and in the presence of the officer or his designated representative or steward.

      F.      No member shall be prohibited from engaging in any political activity, either partisan or
              non-partisan, except while working.

      G.      Compensatory Time Banks. Compensatory time shall be separated into two (2)
              categories which shall be reported on the Employee’s bi-weekly paycheck statement.
              The first category shall reflect compensatory time accumulated prior to April 15, 1986
              and shall reflect excused time as described in Article 31 (Excused Time). The second
              category shall include compensatory time earned on or after April 15, 1986, which shall
              be subject to the provisions of the Fair Labor Standards Act (F.L.S.A.). Compensatory
              time in the second category shall be limited to a total of four hundred eighty (480) hours
              or whatever limitation may hereafter be imposed by law. Compensatory time used shall
              first be charged to the pre-April 15, 1986 bank and thereafter charged to the post-April
              15, 1986 bank. Immediately prior to an Employee’s promotion to a position outside the

      CHI-1939680v6                                    21
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13586 Filed 05/03/21 Page 25 of 71




              DPOA bargaining unit, the Department shall have the option to pay out the Employee’s
              accumulated compensatory time based upon the Employee’s then-current rate of pay or
              as otherwise provided by law.

      H.      Work Period. The work period for purposes of computing overtime is twenty-eight (28)
              consecutive days and includes eight (8) leave days.

                                      12. FUNERAL LEAVE
      A.      If a death occurs among members of the Employee’s immediate family, such Employee
              will be granted three (3) days funeral leave, not to be deducted from his sick bank,
              provided that such leave may be extended to five (5) days within the discretion of the
              Commanding Officer based on individual circumstances.

      B.      If a death occurs among the relatives of the Employee, such Employee will be granted
              one (1) day funeral leave not to be deducted from his sick bank.

      C.      The immediate family is defined as wife, husband, son, daughter, brother, sister, father,
              mother, stepmother, stepfather or other members of the household.

      D.      A relative is defined as a grandson, granddaughter, grandmother, grandfather, great
              grandchild, great grandparent, brother-in-law, sister-in-law, uncle, aunt, mother-in-law or
              father-in-law.

                        13. OFF-DUTY COURT APPEARANCES
      A.      A minimum of three (3) hours credit at time and one-half shall be credited for each off-
              duty court appearance, except as specified herein. When an officer who is on-duty is
              directed to appear in court and that court appearance extends beyond his normal off-duty
              time it shall be recorded as overtime and not as off-duty court time. Off-duty court
              appearances for a period of less than forty-five (45) minutes which abut a pre-scheduled
              shift may be treated as either overtime or court time at the option of the Department.
              Employee’s regularly scheduled working hours shall not be changed to circumvent this
              provision for payment for off-duty court appearances.

      B.      Should a police officer attend court while being carried sick on Platoon Two, the
              following provisions shall apply:

              If the actual amount of time spent in court is less than three (3) hours, the member shall
              be credited with three (3) hours worked at straight time. For the remaining portion of the
              member’s shift, a deduction shall be made from the member’s sick time.

              If the court appearance is for three (3) hours or more, the member shall be carried
              working for the actual amount of time spent in court. For the remaining portion of the
              member’s shift, a deduction shall be made from the member’s sick time. If the court
              appearance extends beyond the end of Platoon Two, the member shall be compensated at
              the rate of time and one-half for the actual amount of time spent in court beyond the end
              of the shift.

      CHI-1939680v6                                   22
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13587 Filed 05/03/21 Page 26 of 71




              Members who are carried disabled are already paid for their time off and therefore shall
              be carried on Platoon Two and will not receive compensation of any type for their
              appearance in court. If the court appearance extends beyond the end of Platoon Two, the
              member shall be compensated at the rate of time and one-half for the actual amount of
              time spent in court beyond the end of the shift.

      C.      Department members scheduled to work Platoon One or Platoon Three who are carried
              sick shall be compensated for off-duty court appearances pursuant to contractual
              guidelines when they appear in court on Platoon Two.

      D.      For all off-duty court time earned, on each court appearance notice turned in, the first
              forty (40) hours of straight time earned as off-duty court time (60 hours at time and one-
              half) shall be compensatory time. Thereafter, members shall be given the option of being
              paid in cash or being credited with compensatory time. Furthermore, such off-duty court
              time shall be paid in cash rather than granting compensatory time when necessary to
              comply with F.L.S.A. requirements.

      E.      Normally, Employees shall not be required to attend court on their leave days or during
              their furlough period. In the event that court attendance may be required while he is on
              leave or furlough, an Employee may be carried on-duty or off-duty, at his option, while
              on Platoon Two.

      F.      Employees not assigned or working downtown shall be reimbursed for their parking fees
              if the following procedure is followed. When the police lot is filled, the Employee shall
              show the lot attendant his Court Appearance slip and receive a Parking Fee
              Reimbursement Authorization form. The Employee shall be reimbursed monthly by the
              Accounting Office via Department mail.

      G.      A member who is required to appear in court on a holiday will receive credit either for an
              off-duty court appearance at the three (3) hour minimum or holiday premium pay (1.5 x)
              for the actual time spent on the court appearance, whichever is greater.

      H.      Any time that compensation is due under the Fair Labor Standards Act, it shall be paid
              the next pay period following performance of the work.

                                            14. OVERTIME
      Pursuant to its management rights under Article 6, the City has the right to schedule overtime
      work and to require Employees to work mandatory overtime.

      A.      Prior to any fiscal year all members will be required to sign a list indicating their
              preference to be paid in cash or compensatory time for overtime worked. Once a member
              elects or does not elect to take time instead of cash payment, he/she is restricted to that
              choice for the entire fiscal year. All overtime will be credited at the rate of time and one-
              half. For the first seventy-five (75) hours of overtime work in a fiscal year, for which
              there is one hundred twelve and one-half (112½) hours of credit, the Employee shall have
              an option of receiving compensatory time instead of payment in cash. All overtime
              beyond the first one hundred twelve and one-half (112½) converted time hours must be

      CHI-1939680v6                                    23
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13588 Filed 05/03/21 Page 27 of 71




              paid in cash. However, in any fiscal year, not more than one hundred twelve and one-
              half (112½) converted time hours may be earned as compensatory time as a result of
              overtime worked. Furthermore, such overtime shall be paid in cash rather than granting
              compensatory time when necessary to comply with F.L.S.A. requirements.

      B.      Overtime shall be calculated on the following basis:

              1.      An Employee shall be entitled to an Overtime Premium for all compensable hours
                      of work in excess of eighty (80) hours in a single two (2) week pay period. For
                      purposes of computing overtime, meal periods will not be deemed to be
                      compensable or counted as time worked for the purposes of computing overtime
                      unless the member is denied such period by competent authority. The tour of
                      duty shall include time spent at the normal line-up or roll-call. For purposes of
                      applying these overtime rules, normal line-up or roll-call shall be deemed to
                      consist of fifteen (15) minutes at the beginning of a day’s assignment and fifteen
                      (15) minutes at the end of the assignment.

              2.      An Employee shall be entitled to an Overtime Premium for all compensable hours
                      of work on a leave day, as defined in this Article.

              3.      When an emergency makes it necessary for a member to work all or part of a
                      furlough or leave day excluding court appearances, such time shall be considered
                      as overtime. Any furlough or leave days for which overtime credit are given shall
                      be canceled.

              4.      In no case shall overtime or other premium compensation be pyramided,
                      duplicated, compounded or paid twice for the same hours of work.

      C.      Unless additional compensation is required by the FLSA or some other wage and hour
              law, the Overtime Premium will be computed by dividing the Employee’s annual salary
              by 2080 and multiplying that quotient by 1.5. In those cases where an Employee works
              overtime and is entitled to receive a shift premium, the shift premium rate of pay for
              overtime hours worked will be determined by multiplying the rate of the applicable shift
              premium by 1.5

      D.      To the extent any subsequent CBA between the parties provides for longevity payments,
              the parties may consider incorporating the language in the Article 14, Section C of the
              2009-2012 collective bargaining agreement as a potential guideline for calculating
              overtime in such subsequent agreement.

      E.      Prescheduled Overtime.

              1.      If the Department has been notified of a personnel shortage with two (2) or more
                      hours notice before the work schedule is to start, then filling of the vacancy
                      should first be attempted by shifting personnel from one assignment to another.
                      All Employees within the collective bargaining unit can be considered for this
                      purpose.



      CHI-1939680v6                                   24
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13589 Filed 05/03/21 Page 28 of 71




              2.      If it is not possible to meet service needs by such shifting, then overtime work
                      will be required but the same must be offered in the following order:

                      a.     First, by seniority order amongst Employees of the rank of the vacancy, in
                             the unit of the vacancy, and on the shift of the vacancy. Such is to be done
                             by telephone canvassing of the Employees in said category who are not
                             working on that day.

                             (1)    In the event that such an Employee not working is contacted and
                                    agrees to work the overtime, said Employee is to be informed that
                                    he MUST appear for duty no later than the regularly scheduled
                                    start of the shift (15 minute roll call period is optional depending
                                    on circumstances and the Employee’s wishes); furthermore, if his
                                    services will be needed for less than a full eight (8) hours (as in
                                    cases when he may be needed only until the power shift
                                    supervisors report for duty), then he shall be notified of same.

                             (2)    In the event the Employee contacted does not arrive at the time
                                    agreed to, an on-duty supervisor selected by seniority rotation may
                                    work overtime. If the Employee not working (the one who was
                                    called at home) arrives later, the Employee working overtime is
                                    not to be replaced by the other Employee. The other Employee
                                    will not work.

                      b.     If phone contacts do not produce an Employee willing to work, then the
                             work can be assigned to an Employee selected in inverse seniority order
                             off of a precinct-wide seniority list. Also, depending upon needs, the
                             overtime in such cases may be ended prior to the end of the shift with the
                             vacancy (see paragraph 2 above).

      F.      Overtime Rotation List. The following guidelines will be adhered to with respect to
              accounting for overtime that is worked: There shall be a seniority roster for each rank on
              each shift, and the roster shall be kept up-to-date.

              1.      Employees who elect to accept the offered overtime do not fall within the
                      Department payroll category “Recall Compensation” and the contractual
                      provisions concerning such are not applicable. Also, no minimum amount of
                      overtime is to be guaranteed beyond that agreed to on the telephone.

              2.      Employees who refuse the overtime or who cannot report for duty by the start of
                      the shift will lose their turn on the overtime rotation list and will not again be
                      offered overtime until their name is again reached in seniority order.

              3.      Employees who cannot be contacted by telephone (one attempt) shall be listed as
                      “unable to contact” (UTC) and shall retain their rotation position.

              4.      Limited duty personnel will not normally be offered overtime, however, such an
                      Employee shall not lose his position on the overtime roster. The Department may


      CHI-1939680v6                                   25
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13590 Filed 05/03/21 Page 29 of 71




                      offer overtime to an Employee, who can fill the position needed, even if he is on
                      limited duty.

              5.      Employees on furlough will be eligible for overtime opportunities on a voluntary
                      basis. The fact that they are on furlough shall be entered on the overtime roster.

              6.      Employees being carried sick or disabled on the preceding day need not be
                      contacted, unless such Employee has notified his work location that he is ready
                      for duty and will report for his next scheduled tour of duty. Sick or Disabled will
                      be entered on the overtime roster.

              7.      The Association steward and the shift lieutenant will verify the overtime roster
                      after each selection.

                                   15. LEAVES OF ABSENCE
      A.      General Leaves of Absence.

              A leave of absence without pay may be granted to Employees with at least three (3) years
              of continuous service with the City as a police officer for a period not to exceed one (1)
              year. The Employee shall submit the request for the leave of absence, in writing, to the
              Chief of Police through channels. The request shall include the reason(s) for the leave
              and the length of time requested. All recipients of educational leaves must present
              continuing proof of enrollment for the specified period of absence. The Union shall be
              notified when a leave of absence of thirty (30) days or more has been granted.

      B.      Medical Leaves of Absence.

              1.      To be eligible for a medical leave of absence, an Employee must have a minimum
                      of one (1) year of continuous service with the City as a police officer from the
                      date of appointment to the effective date of the leave of absence. No Employee
                      shall be required to exhaust banked sick time or other accrued benefits as a
                      condition of taking a medical leave of absence.

              2.      A medical leave of absence without pay shall be granted to an Employee who is
                      suffering from a non-service connected sickness or disability for which the
                      Employee’s physician prescribes extended treatment or rest.

              3.      A written request for a medical leave of absence shall be submitted to the Chief of
                      Police. The request shall contain the diagnosis, treatment prescribed, and length of
                      absence required. It must be accompanied by a signed endorsement from a
                      physician describing a complete medical diagnosis.

              4.      In no case may a medical leave of absence extend beyond six (6) months except
                      with the permission of the Chief of Police. Before an Employee on medical leave
                      is returned to duty, a physician designated by the Department shall make a written
                      recommendation to the Chief of Police. Employees desiring rehire after the leave
                      of absence has expired shall apply for reappointment under the prevailing
                      Department policies.

      CHI-1939680v6                                    26
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13591 Filed 05/03/21 Page 30 of 71




      C.      Maternity Leaves of Absence.

              1.      To be eligible for a maternity leave of absence, an Employee must have a
                      minimum of one (1) year of continuous service with the City as a police officer
                      from the date of appointment to the effective date of the leave of absence. No
                      Employee shall be required to exhaust banked sick time or other accrued benefits
                      as a condition of taking a maternity leave of absence.

              2.      Maternity leave without pay shall commence when it is deemed by competent
                      medical authority that an Employee is no longer able to perform all the duties
                      involved in taking proper police action; when an Employee thinks she can no
                      longer safely work; or when her medical condition or any other valid reason leads
                      the Department to believe a mandatory leave of absence is necessary.

              3.      Upon confirmation of pregnancy, the commanding officer of the Employee’s
                      entity must be notified without unnecessary delay. The Employee shall furnish to
                      her commanding officer and a physician designated by the Department written
                      medical evidence from her doctor verifying her condition, stating an expected
                      delivery date, and evaluating her physical ability to perform regular police duties.

                      Prior to commencement of the leave, the Employee shall prepare an Inter-Office
                      memorandum, DPD Form #568, addressed to the Chief of Police requesting a
                      leave of absence for maternity reasons. This memorandum shall be prepared in
                      quadruplicate and shall state the request for leave with date of commencement
                      and the expected date of return to duty. It shall be presented to the Employee’s
                      commanding officer along with the appropriate medical letter from her doctor.

              4.      Within sixty (60) days after delivery, an Employee shall report to a physician
                      designated by the Department for a determination of her ability to return to full
                      duty. At this time the Employee shall present a medical letter from her doctor
                      indicating the appropriate date of her return to work. Notwithstanding the above,
                      in no case may an Employee’s maternity leave of absence extend six (6) months
                      beyond the date of delivery except with permission of the Chief of Police. Before
                      an Employee on maternity leave is returned to duty a physician designated by the
                      Department shall make a written recommendation to the Chief of Police.
                      Employees desiring rehire after the leave of absence has expired shall apply for
                      reappointment under the prevailing Department policies.

      D.      Mandatory Leave of Absence.

              The Omnibus Consolidated Appropriations Act of 1997 amended the federal gun control
              act to make it unlawful for any person (including a law enforcement officer) to ship,
              transport, possess or receive firearms or ammunition, if convicted of a crime of domestic
              violence.

              1.      A misdemeanor crime of domestic violence is defined as an offense that:

                      a.     is a misdemeanor under federal or state law; and


      CHI-1939680v6                                    27
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13592 Filed 05/03/21 Page 31 of 71




                      b.     has, as an element, the use or attempted use of physical force or the
                             threatened use of a deadly weapon, committed by a current or former
                             spouse, parent, or guardian of the victim, by a person with whom the
                             victim shares a child in common, by a person who is cohabiting or has
                             cohabited with the victim as a spouse, parent or guardian, or by a person
                             similarly situated to a spouse, parent or guardian of the victim.

              2.      Any member convicted of a misdemeanor crime of domestic violence will be
                      carried working in an administrative restricted duty capacity at any work location
                      as determined by management for nine (9) months from the date of conviction in
                      order to permit the member to have the conviction reversed, pardoned, set aside or
                      expunged, or if the disqualification is removed because of a change in legislation
                      or the act is invalidated.

              3.      If the conviction has not been removed after nine (9) months, the member will be
                      placed on a three (3) month unpaid leave of absence.

              4.      At the end of the three (3) month leave of absence, unless the conviction is
                      removed, the member’s employment shall be terminated. The member may
                      reapply for employment provided that the conviction is subsequently removed and
                      he meets all other criteria for employment, including requirements of the
                      Michigan Commission on Law Enforcement Standards (M.C.O.L.E.S.).

      E.      Termination of Leaves of Absence.

              At least thirty (30) days prior to the expiration date of a leave of absence the Employee
              shall submit to the Chief of Police written notice of intent to return to duty. For failure to
              submit the above notice or failure to report at the expiration of the leave, the Employee
              will be considered to be absent without leave.

      F.      Conduct on Leave.

              Employees on leaves of absence shall maintain the same standards of conduct that are
              required of sworn police officers. Acts of misconduct of a serious or grave nature that
              are committed by an Employee while on a leave of absence may subject the Employee to
              disciplinary action in accordance with this Agreement up to and including discharge from
              the Department.

           16. EMPLOYEES’ RIGHT - INVESTIGATIVE PROCEDURES
      Each Employee shall be guaranteed the following rights but this section shall not be construed as
      a section of limitation:

      A.      Any Employee who is accused of violating any criminal law, City, State or Federal shall
              be entitled to his or her full rights under the State and Federal Constitutions without being
              disciplined for exercising such rights.

      B.      After an Employee is ordered to make any written statement in response to any alleged
              misconduct or possible misconduct on his part, he shall have at least forty-eight (48)

      CHI-1939680v6                                    28
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13593 Filed 05/03/21 Page 32 of 71




              hours from the time of the order in which to comply. The parties may extend this period
              by mutual agreement. If any Employee is ordered to make an oral statement, he shall
              comply subject to the receipt of Miranda or Garrity warnings or both and shall be given a
              reasonable time to act in accordance with such rights.

      C.      An Association officer, counsel or both shall have the right to be present at all
              disciplinary hearings at the request of the Employee and shall further have the right to be
              present during all administrative and investigatory proceedings when the investigated
              officer must be present.

      D.      Throughout all disciplinary hearings, each Employee shall be presumed innocent.

      E.      No Employee shall be disciplined, discriminated against, or transferred because he
              exercises any of his constitutional rights before any grand jury, investigative body, court
              or law enforcement agency - Federal, State and Local as well as any investigative
              committee of any legislative body - Federal, State and Local.

      F.      If any disciplinary procedures within the Department are changed during the term of this
              Agreement in such a way as to render any of the provisions of this section inapplicable or
              as to require additional provisions in this section or as to require modifications to this
              section, the subject matter and provisions of this section will be subject to renegotiation
              between the City and the Association.

      G.      No Employee shall be prohibited from engaging in political activity, either partisan or
              non-partisan, except when actually on duty, or while in uniform or while acting in official
              capacity as a police officer.

      H.      An Employee who is indicted or charged with a felony, a crime of moral turpitude, or a
              misdemeanor with a potential jail sentence may be placed on unpaid administrative leave
              without pay but with medical benefits pending the outcome of the criminal proceeding.
              At the conclusion of the criminal proceeding, if the Department chooses not to pursue
              disciplinary action, the Employee will be reinstated. If the Department pursues
              disciplinary action for a matter arising out of the same set of facts and circumstances as
              those surrounding the criminal proceedings, the Employee will be subject to the
              discipline process pursuant to the terms and time frames set forth in Article 9.

              An Employee indicted or charged with a crime less than a felony, a crime of moral
              turpitude, or a misdemeanor with a potential jail sentence may be assigned to
              administrative duties consistent with the needs of the Department or suspended with pay
              pending resolution of the criminal proceedings.

      I.      In the event that an Employee is exonerated from criminal charges and subsequently
              ordered to be reinstated by an arbitrator, that Employee’s back pay award will be
              determined by the arbitrator based on the facts of the case subject to the limitations of
              Section L. In no case will an Employee who admits to a felony, a crime of moral
              turpitude, or a misdemeanor with a potential jail sentence or accepts a plea arrangement
              be entitled to any back pay upon reinstatement.



      CHI-1939680v6                                   29
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13594 Filed 05/03/21 Page 33 of 71




      J.      Whenever a member is being questioned or interviewed by his/her Commanding Officer
              and/or the Department or by any of its units or bureaus, for any reason which could lead
              to criminal actions or charges, such questioning or interview shall be conducted under the
              following conditions:

              1.      The investigative interview shall be conducted at a reasonable hour, preferably at
                      a time when the member is on duty, unless the seriousness of the questioning is of
                      such a degree that an immediate investigative interview is required.

              2.      No investigative interview shall begin until the member has been notified that
                      he/she has a right to have counsel or an officer of the Association present.

              3.      An Employee will be given forty-eight (48) hours written notice prior to an
                      investigative interview in a non-criminal investigation, except in cases of
                      emergency. In non-criminal investigations, the Employee shall be supplied with a
                      copy of any complaints that have been filed against him/her and all relevant
                      information at the time he/she is ordered to appear at the investigative interview.

                      In those instances where a command level investigation of an informal citizen’s
                      complaint, as opposed to those on DPD 512, progresses to the point where a
                      written statement is ordered, the officer will be provided with an inter-office
                      memorandum stating the complaint made against him, the identity of the person
                      who filed the complaint, and the specific questions that the investigating
                      supervisor wants answered. This shall include investigations delegated to the
                      command to handle from other departmental agencies, such as the Internal
                      Controls Bureau.

              4.      Employees required to be interviewed by the Professional Standard Bureau will
                      be given forty-eight (48) hours written notice prior to the investigative interview.
                      Provided, however, that the obligation to give forty-eight (48) hours written
                      notice shall not apply: (1) to individuals who have been arrested; (2) to
                      individuals who are questioned under Miranda; and (3) where the seriousness of
                      the investigation is of such degree that an immediate interview is required.

              5.      No investigative interview shall begin until the Employee has been notified that
                      he/she has a right to have legal counsel and a representative of the Union present,
                      except that an officer who is called before the Internal Affairs Section who at the
                      time he/she is notified to appear is advised in writing that the purpose of the
                      questioning is not to charge him/her with any criminal conduct or to discipline
                      him/her and that he/she is only being called as a witness, shall not be entitled to
                      the presence of a Union representative during the investigative interview. In
                      investigations in which the suspect officers are unknown, the Department may
                      require the Union representative to be a Union officer.

              6.      The Employee being questioned shall be informed prior to such investigative
                      interview of the name of all persons present during the investigative interview. If
                      any of the interviewers are sworn police officers, at least one shall be present
                      during the investigative interview who is of a rank higher than that of the officer
                      being interviewed.
      CHI-1939680v6                                    30
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13595 Filed 05/03/21 Page 34 of 71




              7.      The attorney representing the officer shall be allowed to ask questions at the time
                      of the investigative interview.

              8.      Neither the home address nor the photograph of any member suspected of any
                      wrongdoing shall be given to the press or the news media without the written
                      consent of the member.

              9.      If a record is made at the time of the investigative interview and improper conduct
                      is alleged, the Employee shall be entitled to a copy of the tape or the transcript, if
                      a transcript is made, for the cost of duplication. If a transcript is made at the
                      Union’s request the Union will pay for the cost of the transcript.

      K.      The complete investigative interview of the member, including a notation of all recess
              periods, shall be recorded and there shall be no unrecorded questions or statements. At
              the request of the member, a copy of the investigative interview shall be furnished to him.

      L.      If an Employee’s disciplinary penalty is simply modified or lessened to the extent that
              he/she has a claim for partial back wages during a period of suspension as the result of
              the modification or the lessening of the penalty, claims for back wages will be limited to
              the amount of wages that the Employee otherwise would have earned less any
              compensation for personal services he may have received from any source during the
              period in question but excluding previously Department authorized income earned
              outside his regularly scheduled work period.

      M.      The Investigative staff of the Board of Police Commissioners will have the right to
              question and interview Employees and such right will in no way abridge or change the
              rights of Employees under this Agreement or under any Local, State, or Federal law or
              the Constitution of the United States, or State of Michigan.

              In no event will any recommendations or actions resulting from such investigative
              interview or questioning lead to any discipline outside or inconsistent with any discipline
              procedures or discipline matters maintained in this Agreement or as may be established
              and maintained by the Department in accordance with this Agreement.

              Further, no Employee, after he/she has been once disciplined by the Department, will be
              re-disciplined, for any reason whatever for any matters arising out of the same set of facts
              and circumstances surrounding the first disciplinary action.

      N.      An Employee will be notified in writing of the results of any departmental investigation
              of him/her within sixty (60) days after the investigation is completed. If the Employee is
              charged either criminally or departmentally, that will be the notification.

                      17. PERFORMANCE EVALUATION RATINGS
      A.      Rating Periods.

              Performance evaluation ratings will be completed twice a year for all members. The
              rating periods shall be from May 1st through October 31st and November 1st through
              April 30th.

      CHI-1939680v6                                    31
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13596 Filed 05/03/21 Page 35 of 71




              The May through October ratings shall be completed during the month of November and
              forwarded by December 10th, to be reviewed per the distribution outline. Final
              distributions will be completed by December 20th.

              The November through April ratings shall he completed during the month of May and
              forwarded by June 10th, to be reviewed per the distribution outline. Final distributions
              will be completed by June 20th.

      B.      Each Employee shall be rated by his or her immediate supervisor.

      C.      Upon completion of the rating, each member will be personally informed of his
              respective evaluations by the immediate supervisor who prepared the evaluation.

      D.      Any member who wishes to appeal his performance evaluation must make a written
              request to the Chief of Police or his/her designee within thirty (30) days of receiving his
              copy of the evaluation and must identify each aspect of the evaluation he is appealing and
              cite a brief basis for appealing that rating.

                      18. LEAVE DAYS AND JOB ASSIGNMENTS
      A.      A prescheduled temporary absence from duty of twenty-four (24) hours duration shall be
              defined as a leave day unless otherwise designated (e.g., sick leave, funeral leave,
              compensatory time, etc.) by the Department. Leave days granted to Employees who
              work Monday through Friday shall be Saturdays and Sundays. An Employee working an
              eight hour shift schedule shall be entitled to eight (8) leave days in each twenty-eight (28)
              day work period.

      B.      The present practice of Employees submitting leave day requests shall continue. Upon
              submitting the request the Employee shall circle the days he wishes to be granted under
              the conditions of this Article.

              1.      Employees shall be granted a minimum of four (4) circled days for each twenty-
                      eight (28) day work period; provided, that an Employee may select five (5) circled
                      days in four (4) work periods per fiscal year which shall be designated by the
                      Union and promulgated by special order.

              2.      Further, in the event that more leave day requests are submitted than the allowable
                      percentage to be off on any given day or days, then the most senior Employees
                      shall be granted their requests. When leave day requests are less than the
                      allowable percentage to be off, then all such requests for that day or days shall be
                      granted.

      C.      Under normal conditions, job assignments and leave days shall be posted seven (7) days
              prior to the end of the current work period. After having been posted, leave days shall be
              changed only by mutual consent of the officer and the Department, except when leave
              days are canceled because of an emergency.

      D.      After leave days are posted, Employees may mutually agree, with prior written approval
              of their supervisor, to exchange leave days.

      CHI-1939680v6                                    32
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13597 Filed 05/03/21 Page 36 of 71




                                            19. UNIFORMS
      A.      Initial Uniform Allowance. At time of hire, Employees shall receive an initial uniform
              allowance of eight hundred and fifty dollars ($850) or, in the alternative, the Department
              may institute a uniform voucher system and issue Employees uniform vouchers in lieu of
              a cash payment. In the event that the Department changes its specifications regarding
              uniforms and/or equipment, Employees shall receive an initial uniform allowance as
              provided above. The initial uniform allowance that Employees receive in the event of a
              change in Department specifications shall be provided in lieu of the annual uniform
              allowance as set forth in Section B. In no event shall any Employee receive both an
              initial uniform allowance and an annual uniform allowance in the same year.

      B.      Annual Uniform Allowance. The Department will no longer issue replacement uniforms
              and accessories. Except as provided in Section A, members will instead receive a
              uniform allowance of eight hundred and fifty dollars ($850) annually for the procurement
              and maintenance of all of the member’s required uniforms and accessories.
              Alternatively, the Department may institute a uniform voucher system and issue
              Employees uniform vouchers in lieu of cash payments. The member shall be responsible
              for procuring uniforms and equipment according to Department specifications. This
              allowance shall not include maintenance and procurement of bulletproof vests or other
              specialty equipment, which the Department shall continue to procure and issue directly to
              members.

      C.      Annual Cleaning Allowance. Employees shall receive an annual uniform cleaning
              allowance of two hundred and fifty dollars ($250) per year payable the first payroll
              period each fiscal year. Alternatively, the Department may institute a uniform cleaning
              voucher system and issue Employees uniform cleaning vouchers in lieu of cash
              payments.

      D.      The annual uniform allowance shall be payable on July 1st to Employees who were hired
              on or before April 1st of that year. Employees who were hired after April 1st of that year,
              will not receive an annual uniform allowance until the subsequent July 1st.

      E.      For purposes of calculating eligibility for payment of these allowances, all members shall
              receive payment of these allowances with the following exceptions:

              1.      A member shall be considered off the payroll and ineligible for this allowance if
                      he/she has retired, resigned or has been discharged with an effective date before
                      July 1st of the fiscal year payment is to be made.

              2.      Members discharged and suspended without pay who have a pending appeal of
                      the discharge shall not receive payment of the uniform cleaning allowance unless
                      and until the discharge is overturned at an appellate level at which time they shall
                      be made whole.

              3.      Members on extended AWOL or ANP status on July 1st of the fiscal year
                      payment is to be made will not receive the uniform cleaning allowance unless


      CHI-1939680v6                                    33
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13598 Filed 05/03/21 Page 37 of 71




                      they return to active regular duty during the fiscal year at which time they will
                      receive full payment.

              4.      Members on an unpaid leave of absence on July lst of the fiscal year will not be
                      entitled to payment for the uniform cleaning allowance until the next fiscal year.

           20. HOSPITALIZATION, MEDICAL, DENTAL AND OPTICAL
                                 CARE
      A.      During the term of this Agreement, Employees will be eligible to participate in the group
              medical, prescription drug, dental, and vision plans (“Medical Plans”) offered by the
              City. Unless the parties mutually agree otherwise, the City’s 2014 medical plan designs
              (“Medical Plan Designs”) will remain in place during the term of this Agreement. For
              purposes of this Section, the term Medical Plan Design will collectively refer to
              deductibles, co-payments, covered services, networks, and third party administrators or
              insurers.

              1.      Notwithstanding this section A, the City will promptly analyze providing
                      ScriptGuideRx, Inc. as a pharmacy benefits manager (“PBM”) for the self-insured
                      PPO option provided to police and firefighter active employees who enroll for
                      health insurance. The City agrees to include ScriptGuide as a PBM for its self-
                      insured option for active police and firefighter enrollees if (i) the City concludes
                      - in its sole discretion - that ScriptGuide can be provided on a cost neutral or
                      lower cost basis for the City during its first contract year of use and the Contract
                      term, and (ii) following an analysis by the City respecting ScriptGuide’s
                      applicable managed formulary, generic utilization, network and co-payment
                      structure, and sharing of that analysis and discussion with the Unions, the Unions
                      approve the City’s use of ScriptGuide as the PBM for its self-insured option for
                      active police and firefighter enrollees, even if the co-pay structure for generic,
                      brand or specialty prescription drugs necessary for cost neutrality requires higher
                      active employee co-pays for certain forms of prescription drugs. The City shall
                      determine whether ScriptGuide will be cost neutral or lower prescription drug
                      costs based on the cost for the entire active population.

      B.      Employees will be required to make monthly contributions for their benefits based upon
              the plan and coverage tier selected by the Employee. Monthly contributions will be
              deducted from Employee payroll disbursements on a pre-tax basis (if authorized by the
              employee), in accordance with applicable law.

              1.      For calendar year 2014, Employees’ monthly contributions under the City’s
                      Medical Plans will remain at the levels in place as of the effective date of this
                      Agreement.

              2.      For subsequent calendar years during the term of this Agreement, Employees’
                      monthly contributions under the City’s Medical Plans will be adjusted annually to
                      the level necessary to maintain an 80/20 proportional share of the cost of the
                      medical coverage, subject to the terms and conditions and limitations set forth in
                      this Article. Under this cost sharing arrangement, the City will pay eighty percent

      CHI-1939680v6                                    34
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13599 Filed 05/03/21 Page 38 of 71




                      (80%) of the costs of each coverage tier in the City’s Medical Plans, and
                      Employees participating in each coverage tier will pay twenty percent (20%) of
                      the costs for such coverage tier. Premiums will be calculated as follows:

                           a.        For the Health Alliance Plan (“HAP”) health maintenance
                                     organization (“HMO”) plan, a participating Employee will pay
                                     20% of the premium charged by HAP for his/her coverage tier.
                                     Such premiums will be established by HAP, subject to
                                     confirmation by an independent enrolled actuary retained by the
                                     City (“Enrolled Actuary”).

                           b.        For the Blue Cross/Blue Shield (“BCBS”) preferred provider
                                     organization (“PPO”) plan, monthly contributions will be set such
                                     that Employees in each coverage tier collectively pay twenty
                                     (20%) of the costs for that coverage tier. Such monthly
                                     contributions will be calculated by the Enrolled Actuary. Monthly
                                     contributions will be calculated in accordance with generally
                                     accepted actuarial principles, and will take into account claims
                                     experience from the prior fiscal year, inflation, actual and
                                     anticipated administrative costs, actual and anticipated fees and
                                     surcharges (including those associated with compliance with the
                                     Patient Protection and Affordable Care Act (“ACA”)), and any
                                     other relevant costs or factors as determined by the Enrolled
                                     Actuary.

      C.      C.O.P.S. Health Trust: For calendar year 2015 and for subsequent calendar years during
              the term of this Agreement, Employees may elect to participate in medical benefit plans
              offered by C.O.P.S. Health Trust (“COPS Trust”) in lieu of the City’s Medical Plans
              subject to the following conditions:

              1.      An Employee who participates in COPS Trust may not concurrently participate in
                      any City Medical Plan.

              2.      For each Employee who elects to be covered by COPS Trust, the City will make a
                      monthly contribution to COPS Trust that is equal to the lesser of (a) the City’s pro
                      rata contribution under the HAP Plan in the corresponding coverage tier (e.g.
                      single, two person, family) or (b) the City’s pro rata contribution under the BCBS
                      Plan for the corresponding coverage tier. Under no circumstances will the City’s
                      monthly contribution to COPS Trust exceed the City’s monthly contribution for
                      coverage under the lowest cost City plan for the applicable coverage tier.

              3.      The City will have no obligations in connection with COPS Trust other than to
                      make the payments described in this Section C. Specifically, the City will not
                      have any administrative involvement whatsoever in connection with employee
                      participation in COPS Trust, and any employee participating in COPS Trust will
                      be responsible for paying any additional monthly premium payments beyond the
                      City’s monthly contribution pursuant to Section C.2 of this Article directly to
                      COPS Trust. Under no circumstances will the City be deemed to be an

      CHI-1939680v6                                    35
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13600 Filed 05/03/21 Page 39 of 71




                      administrator or fiduciary with respect to any medical plans provided by COPS
                      Trust.

              4.      The Union agrees to indemnify the City, and hold the City harmless, against any
                      and all claims asserted by employees or third parties against the City or any of its
                      elected or appointed officials, employees, agents, attorneys, or consultants that are
                      in any way related to or connected with employee participation in COPS Trust,
                      any medical plans offered by COPS Trust, including but not limited to any claims
                      for benefits provided to, or denied, City employees by COPS Trust, as well as any
                      and all claims that are in any way related to any acts or omissions by COPS Trust,
                      or its officers, directors, trustees, employees, or agents.

      D.      VSP: For calendar year 2015 and for subsequent calendar years during the term of this
              Agreement, Employees may elect to participate in vision benefit plans offered by VSP in
              lieu of the City’s vision plan subject to the following conditions:

              1.      An Employee who participates in VSP may not concurrently participate in any
                      City vision plan.

              2.      For each Employee who elects to be covered by VSP, the City will make a
                      monthly contribution to VSP that is equal to the the City’s pro rata contribution
                      under the Heritage vision plan in the corresponding coverage tier (e.g. single, two
                      person, family). Under no circumstances will the City’s monthly contribution to
                      VSP exceed the City’s monthly contribution for coverage under the lowest cost
                      City plan for the applicable coverage tier.

              3.      The City will have no obligations in connection with VSP other than to make the
                      payments described in this Section C. Specifically, the City will not have any
                      administrative involvement whatsoever in connection with employee participation
                      in VSP, and any employee participating in VSP will be responsible for paying any
                      additional monthly premium payments beyond the City’s monthly contribution
                      pursuant to Section C.2 of this Article directly to VSP. Under no circumstances
                      will the City be deemed to be an administrator or fiduciary with respect to any
                      medical plans provided by VSP.

              4.      The Union agrees to indemnify the City, and hold the City harmless, against any
                      and all claims asserted by employees or third parties against the City or any of its
                      elected or appointed officials, employees, agents, attorneys, or consultants that are
                      in any way related to or connected with employee participation in VSP, any vision
                      plans offered by VSP, including but not limited to any claims for benefits
                      provided to, or denied, City employees by VSP, as well as any and all claims that
                      are in any way related to any acts or omissions by VSP, or its officers, directors,
                      trustees, employees, or agents

      E.      Except as provided in this Article, the extent of coverage under the City’s Medical Plans
              will be governed by the terms and conditions set forth in the applicable Medical Plans
              offered by the City during the term of this Agreement. Plan documents may be modified
              or amended by the City from time to time in accordance with the terms of the applicable
              plan documents, provided that such amendments do not violate the terms of this Article.
      CHI-1939680v6                                    36
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13601 Filed 05/03/21 Page 40 of 71




              Any questions or disputes concerning any City Medical Plans will be resolved in
              accordance with the terms and conditions set forth in the applicable insurance policies or
              plan documents and will not be subject to the Grievance & Arbitration Procedures set
              forth in Articles 7 and 8 of this Agreement.

      F.      The failure of any insurance carrier(s), PBM, or plan administrator(s) to provide any
              benefit for which it has contracted or is obligated will not result in any liability to the
              City, nor will such failure be considered a breach by the City of any obligation
              undertaken under this or any other Agreement. However, nothing in this Agreement will
              be construed to relieve any insurance carrier(s) or plan administrator(s) from any liability
              it may have to bargaining unit Employees or beneficiaries of bargaining unit Employees.

      G.      Except as set forth in this Article, during the term of this Agreement, the City Medical
              Plans will provide benefits with an actuarial value as determined by the Enrolled Actuary
              that are at the “Gold” level (i.e., approximate actuarial value of 80%), as defined by the
              ACA. In the event that the actuarial value of a City Medical Plan’s benefits falls below
              the “Gold” level as determined by the Enrolled Actuary during the term of the
              Agreement, the City will meet and confer with the Union to discuss potential
              modifications to the Medical Plan during the subsequent plan year to raise the actuarial
              value of the benefits to the “Gold” level.

      H.      Notwithstanding any provision in this Article that could be construed to the contrary, this
              Article will not be construed to require the City to fall out of compliance with the
              requirements Public Act 152 of 2011 (“PA 152”). MCL § 15.561 et. seq. The City’s
              Enrolled Actuary will be responsible for periodically monitoring compliance with the
              requirements of PA 152. In any event where the Enrolled Actuary determines that the
              City is reasonably likely to fall out of compliance with PA 152, the City will meet and
              confer with the Union for a period not longer than thirty (30) days in order to discuss
              potential modifications to the terms of the Medical Plans or to the allocation of premium
              payments by the City and the Employees. To the extent the City and the Union are
              unable to reach an agreement within thirty (30) days, the City may make any necessary
              modifications to ensure compliance with PA 152.

      I.      Surviving Spouses/Dependents. Current and future spouses and dependents of
              bargaining unit employees who are killed in the line of duty will be eligible to continue to
              participate in the City’s Hospitalization, Medical, Dental, and Optical Care plans on the
              same terms and conditions as active bargaining unit members.

      J.      Retiree Medical Benefits.

              1.      Retiree Medical Subsidy. The City will contribute the following amounts towards
                      the cost of retiree health benefits for Eligible Retirees (the “Retiree Medical
                      Subsidy”):

                           a.        On or before January 31, 2015 (and each subsequent January 31
                                     during the term of this Agreement), the City will contribute a total
                                     sum of one million dollars and no cents ($1,000,000.00) to the
                                     COPS Trust VEBA to fund retiree medical benefits for City of
                                     Detroit employees (and Eligible Retirees) in the bargaining units
      CHI-1939680v6                                   37
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13602 Filed 05/03/21 Page 41 of 71




                                     represented by the DPOA, the Detroit Police Lieutenants and
                                     Sergeants Association (DPLSA), the Detroit Fire Fighters
                                     Association (DFFA), and the Detroit Police Command Officers
                                     Association (DPCOA) (collectively, the “Public Safety Unions”).
                                     The amount contributed on behalf of the DPOA will be determined
                                     by: (a) dividing the total DPOA bargaining unit headcount as of
                                     July 1, 2014, by (b) the total active employee headcount in the four
                                     Public Safety Unions as of July 1, 2014, and then (c) multiplying
                                     the quotient by $1,000,000.00 (DPOA headcount ÷ total Public
                                     Safety Union headcount) × $1,000,000.00).

                           b.        Any foundation money available to fund medical benefits for
                                     Public Safety Union retirees shall also be contributed to the COPS
                                     Trust VEBA.

              2.      No Additional Liability. Other than the Retiree Medical Subsidy, the City shall
                      not be required to pay any additional amounts including, but not limited to start-
                      up costs, to the COPS Trust VEBA, or to pay any other sums (including but not
                      limited to administration expenses), in connection with retiree health coverage for
                      Eligible Retirees during the term of the Agreement. Moreover, the parties agree
                      that COPS Trust shall have sole responsibility for maintaining and investing all
                      funds contributed by the City pursuant to this Article 20, Section J, and shall be
                      solely responsible for determining the benefit design and form, amount, and
                      timing of all benefit payments to Eligible Retirees pursuant to this Agreement,
                      and COPS Trust shall have sole responsibility to ensure that all of COPS Trust’s
                      acts or omissions with respect to the provision of benefits to Eligible Retirees
                      comply with applicable law. As such, other than its obligation to timely pay the
                      Retiree Medical Subsidy, the City shall have no responsibility and shall face no
                      liability to any party with respect to the provision of benefits to Eligible Retirees
                      pursuant to Article 20, Section J.

              3.      Indemnification. The Union agrees to indemnify the City, and hold the City
                      harmless, against any and all claims asserted by employees or third parties against
                      the City or any of its elected or appointed officials, employees, agents, attorneys,
                      or consultants that are in any way related to or connected with employee or
                      Eligible Retiree participation in the COPS Trust VEBA, including but not limited
                      to any claims for benefits provided to, or denied, City employees or Eligible
                      Retirees (or their spouses or dependents) by the COPS Trust VEBA, as well as
                      any and all claims by other persons that are in any way related to any acts or
                      omissions by the COPS Trust VEBA, or its officers, directors, trustees, employees,
                      or agents.

              4.      Eligibility. Employees who retire on or before December 31, 2014 shall
                      participate in the OPEB settlement available to existing retirees in accordance
                      with the Plan of Adjustment in In re City of Detroit, Case No. 13-53846.
                      Employees who retire and receive pension benefits from the PFRS on or after
                      January 1, 2015 (“Eligible Retirees”) shall be eligible for retiree health care


      CHI-1939680v6                                    38
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13603 Filed 05/03/21 Page 42 of 71




                      benefits from the COPS Trust VEBA as determined by such VEBA and as set
                      forth herein.

                21. FURLOUGH SELECTION AND CANCELLATION
      A.      The annual furlough shall be divided into two (2) seasons, Summer and Winter. Each
              furlough season shall consist of thirteen (13) furlough periods, corresponding with the bi-
              weekly payroll periods. Each furlough period shall contain ten (10) consecutive days,
              which shall also include the standard number of leave days and up to three (3) Bonus
              Vacation Days granted in connection with the furlough.

              An Employee drawing the first furlough in any given work period may attach five (5)
              leave days and up to three (3) Bonus Vacation Days at the end of the furlough (F) days.
              An Employee drawing the second furlough in any given work period shall have the
              following options concerning the five (5) attached leave days and up to three (3) Bonus
              Vacation Days with the furlough:

              Option 1: Attach one (1) leave day at the beginning of the furlough period with the
              remaining four (4) leave days attached at the end of the furlough period. Should one (1)
              or more Holiday(s) fall within the furlough period, then those days replaced by the
              Holiday(s) may be attached at the beginning or the end of the furlough period. When
              Bonus Vacations Days are attached, they may be placed at the beginning and/or the end
              of the furlough period.

              Option 2: Attach five (5) leave days and up to three (3) Bonus Vacation Days at the end
              of the furlough period.

              This does not change the requirement that eight (8) leave days must be used in each
              twenty-eight (28) day work period. Leave days will not be carried forward into another
              work period.

      B.      The choice of furloughs shall be by seniority on a shift basis, consistent with the efficient
              operation of the precincts, and entity. In a given precinct, or entity, normally not more
              than ten percent (10%) of the total number of police officers shall be absent on furlough
              at the same time, unless the Department determines that the operational needs of the
              Department require otherwise. Employees assigned to special or desired jobs on Platoon
              Two shall draw furlough assignments among themselves and the overall ten percent
              (10%) limitation shall apply. Certain Employees of the Traffic Safety Section, whose
              duty assignments must be coordinated with the school year, may be furloughed to the
              greatest extent possible during the prolonged school holidays occurring during Christmas,
              Easter and summer vacations and between semesters and the overall ten percent (10%)
              limitation set forth above shall not apply. Where there is a fraction of a percentage over
              the ten percent (10%), an additional furlough period shall be allowed unless such
              fractional allowance is specifically vetoed by the Chief in writing and posted prior to the
              furlough draw.




      CHI-1939680v6                                    39
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13604 Filed 05/03/21 Page 43 of 71




      C.      In the absence of an Employee, the officer in charge or another Employee designated as a
              representative of the absent Employee shall select the furlough period for him/her in
              accordance with his/her choice by seniority.

      D.      Employees shall make their furlough selection in accordance with the established
              schedule of furlough periods.

              Drawing for Summer furlough will be conducted on February 15th. Drawing for winter
              furlough will be conducted on August 15th.

              If the scheduled drawing date falls on a Saturday, the draw will be held on the preceding
              Friday. If the date falls on a Sunday, the draw will be held on the following Monday.

      E.      Leave days when added to a furlough shall not be canceled unless the accompanying
              furlough is canceled.

      F.      If an Employee is sick or disabled immediately prior to his vacation, and the Employee
              provides medical proof of such illness or disability, the vacation shall be rescheduled to a
              date that is mutually acceptable to the Employee and his commanding officer.

      G.      Members may elect to sell up to one (1) week of furlough time (five (5) consecutive
              days) per furlough period. An election to sell furlough time shall be at the time of the
              furlough draw. Payment shall be made within thirty (30) days after the furlough draw.

      H.      Members shall have the option of selling or banking one additional week of furlough time
              annually. Payment for the second week shall be at the officer’s current rate of pay.
              Payments pursuant to this Article shall not be included in average final compensation for
              purposes of determining pensions. Such an option shall be given, in writing, by the
              member at the time of furlough selection. Failure to exercise the option, in writing, at the
              time of furlough selection shall be a full and complete waiver of the option for that
              furlough period.

                                    22. STEP INCREMENTS
      Step increments shall be applied on the first day of the pay period in which the anniversary step
      date of an Employee falls.

      All Employees shall receive annual step increments which shall be equal to one-fifth (1/5) of the
      difference between the maximum and minimum rate for Police Officer, not to exceed the
      maximum rate in the range, pursuant to the attached Official Compensation Schedule.

                      23. EMERGENCY/EXCUSED LEAVE DAYS
      Emergency or excused days shall be granted to a member for an absence justified by urgent
      reasons such as attendance to demanding personal business and other pressing matters which
      cannot be covered by other banked time. Permission to use emergency days must be granted in
      advance from the member’s commanding officer or the officer in charge of his/her entity.
      Supervisory personnel may make reasonable inquiries in order to verify that the request is

      CHI-1939680v6                                   40
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13605 Filed 05/03/21 Page 44 of 71




      legitimate but shall maintain the confidentiality of any personal information. Not more than five
      (5) emergency or excused days may be granted in any one fiscal year under any circumstances.
      All emergency or excused days will be deducted from the member’s accumulated sick bank, and
      will consequently affect the accumulation of bonus vacation days.

      Any member under the restrictions of the attendance control program (DPD 350) shall not be
      allowed to have emergency or excused days deducted from his sick banks and will be carried
      Absent No Pay.

                                   24. DEPARTMENT FILES
      A.      All personnel records which include home addresses, phone numbers and pictures of
              members shall be kept confidential and never released to any person other than officials
              of the Department or upon the written authorization of the member involved.

      B.      A member shall have the right to inspect his official personnel record wherever kept,
              twice a year or more often for good cause shown.

      C.      Inspection shall be during regular business hours of the respective repository and be
              conducted under supervision of the Department. Said member shall have the right to
              make duplicate copies for his own use at his own expense. No records, reports,
              investigations, evaluations or similar data belonging in the Personnel File or Medical File
              shall be hidden from a member’s inspection.

      D.      A member shall have the right to include in his personnel record and in any other file
              kept by the Department, a written refutation of any material he considers to be
              detrimental and to request its removal.

      E.      Members may inspect their personnel file upon retirement and nothing shall be inserted
              in such files after the date of retirement.

      F.      The Department need not comply with the above provisions for inspection in those areas
              where there is a current investigation of the officer. The officer must be told, however,
              that he is being investigated and appraised of the subject matter of the investigation.

      G.      The language in this Article shall not be construed in a manner that would violate
              applicable law.

                                    25. POLICE RESERVES
      In continuing its policy on police reserves, the City will in no event use police reserves to
      perform the essential core duties of bargaining unit members or to circumvent the holiday
      overtime and/or any other provisions of this Agreement. Should a dispute over the deployment
      of reserves arise, the burden of proceeding and the burden of proof in any grievance/arbitration
      matter shall be on the Employer to establish by probative, objective evidence, that its use of
      reserves did not circumvent any provision of the collective bargaining agreement, and, but for
      the deployment of reserves, bargaining unit members would not have been used to participate in
      the particular event, duty, function, activity, etc.

      CHI-1939680v6                                   41
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13606 Filed 05/03/21 Page 45 of 71




      Subject to the Department’s management rights under Article 6, reserves cannot be assigned to
      ride with Employees unless the Employee consents and reserves shall not ride with Employees
      assigned to one person cars.

                                  26. POLICE ASSISTANTS
      A.      Notwithstanding any other provision of this Agreement, the Department, at its discretion,
              may utilize Police Assistants to perform the functions listed in Section D.

      B.      In filling Police Assistant positions, the Department shall give first preference to
              individuals with prior experience as Police Officers with the Detroit Police Department.
              However, the Department shall have no obligation to hire any individual who had a
              significant disciplinary record with the Department or any person who has been
              previously dismissed from a Police Assistant position, and if the Department cannot
              reasonably or timely fill all Police Assistant positions with persons who have prior
              Detroit Police Department experience, it may utilize individuals who had previous
              experience as police officers with other police departments in the State of Michigan.

      C.      The Department shall require that all Police Assistants, as a requirement for employment,
              either currently are, or will become within ninety (90) days, Michigan Commission on
              Law Enforcement Standards (M.C.O.L.E.S.) certified.

      D.      The functions that may be performed by Police Assistants should be limited to the
              following:

              Court Officer
              Crime Analysis
              Crime Scene Services
              Disciplinary Administration
              Fire Arms Inventory
              Fiscal Operations
              Forfeiture
              Labor Relations
              Liquor License
              Media Relations
              Police Law
              Police Medical
              Police Personnel
              Prisoner Transport/Processing
              Property Control
              Records Management
              Recruiting
              Resource & Facilities Management
              Secondary Employment
              Technology Bureau
              Traffic
              Training


      CHI-1939680v6                                  42
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13607 Filed 05/03/21 Page 46 of 71




      E.      Police Assistants will be part of the DPOA bargaining unit. Notwithstanding any other
              provision in this Agreement, Police Assistants will work on a part-time basis and shall
              serve at the discretion of the Chief. Accordingly, Police Assistants shall not have access
              to the grievance procedure (Article 7), arbitration procedure (Article 8), or disciplinary
              procedure (Article 9). Police Assistants shall be paid $21 per hour except that Police
              Assistants shall be eligible for wage increases in 2016, 2017, and 2018 as set forth in
              Article 40. Police Assistants will be eligible for uniform allowances in accordance with
              Article 19 of this Agreement.

      F.      Except as set forth in Section E and as required by law, Police Assistants are expressly
              excluded from participating in, or benefiting from, the following provisions of this
              Agreement: Grievance Procedure (Article 7), Arbitration (Article 8), Discipline (Article
              9), Seniority (Article 10), Funeral Leave (Article 12), Off-Duty Court Appearances
              (Article 13), Hospitalization, Medical, Dental and Optical Care (Article 20) (unless
              required to provide such benefits under applicable law), Furlough (Article 21), Step
              Increments (Article 22), Emergency/Excused Leave Days (Article 23), Shift Differential
              (Article 28), Holidays (Article 29), Floating Holidays (Article 30), Excused Time (Article
              31), Pension (Article 32), Recall Pay (Article 33), Sick Leave (Article 34), Bonus
              Vacation Days (Article 36), Jury Duty (Article 37), Death Benefits and Life Insurance
              (Article 38), Service Weapons (Article 39.C), Lump Sum for Banked Time (Article
              39.F). Furthermore, while Police Assistants formerly employed by the Department will
              not lose any previously accrued pension benefits, Police Assistants will not be eligible to
              earn or accrue additional pension benefits.

      G.      The Department’s use of Police Assistants shall not result in a reduction in force (lay off)
              among other bargaining unit Employees, nor shall the Department utilize Police
              Assistants while any Employees are on lay off. Employees performing functions
              assigned to Police Assistants shall be reassigned to other duties in accordance with the
              terms of this Agreement, provided that an Employee reassigned under the terms of this
              Section shall have the first right of return to his or her former position if, within two
              years, the Department elects to again utilize a Police Officer to perform the functions of
              the Employee’s former position.

      H.      This Article shall not impact or diminish the Department’s rights under any other
              provision of this Agreement, including but not limited to Article 25 (Police Reserves) and
              Article 39.H (Miscellaneous – Civilianization).

      I.      The DPOA acknowledges that, as an express quid pro quo for the receipt of an 8% wage
              increase instead of a 5% wage increase for Police Officers effective the first pay period
              following ratification of this Agreement that it has agreed to (a) the City’s use of Police
              Assistants in accordance with the terms and conditions set forth in this Article, (b)
              reduction in the number of holidays (Article 29) and the institution of floating holidays
              (Article 30), (c) elimination of accumulation of seniority sick bank time and creation of
              the City’s right to pay out annually accumulated sick time in excess of 400 hours at 85%
              (Article 34), (d) elimination of 2% lump sum payment effective January 1, 2015 and 1%
              lump sum payment effective July 1, 2015, and (e) creation of City right to pay out
              accumulated compensatory time upon promotion out of the DPOA bargaining unit
              (Article 11). The DPOA further agrees to waive all rights to seek modifications to the

      CHI-1939680v6                                   43
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13608 Filed 05/03/21 Page 47 of 71




              terms and conditions for Police Assistants set forth in this Article to the maximum extent
              allowable under applicable law.

            27. LEGAL REPRESENTATION AND INDEMNIFICATION
      The City will provide legal counsel and pay any costs and judgments that arise out of lawsuits
      filed against Employees alleging any act committed while said Employee was in the good faith
      performance of his duties. A contrary determination by the City is not final and binding as
      provided by the Municipal Code of the City of Detroit but is subject to review by an arbitration
      panel under the grievance arbitration provisions of this Agreement. Pending a final
      determination of whether or not the Employee is entitled to defense and indemnification by the
      City, the City shall promptly undertake such defense on behalf of such Employee.

      This provision shall otherwise be in accordance with Section 13-11-3 of the Municipal Code of
      the City of Detroit.

                                    28. SHIFT DIFFERENTIAL
      Shift premium shall be paid to all members whose regular tour of duty begins within the hours
      prescribed as follows, and in the amounts as set forth herein; if the tour of duty begins between
      11:00 A.M. and 6:59 P.M., the rate of shift premium pay is fifty-five cents ($.55) per hour. If the
      tour of duty begins between 7:00 P.M. and 3:59 A.M., the rate of shift premium is sixty cents
      ($.60) per hour.

      The shift premium is paid to a member in addition to his basic rate of pay, for the regular tour of
      duty starting within the hours designated above and any overtime hours worked in conjunction
      with an afternoon or midnight shift.

                                            29. HOLIDAYS
      A.      Schedule of Holidays.

              Each Employee shall be entitled to the following holidays in accordance with this
              schedule.

                      New Years Day                         January 1
                      Thanksgiving Day                      Fourth Thursday in November
                      Christmas Day                         December 25th

      B.      Day of Celebration.

              1.       The paid holiday, for all Employees of the Department, will be the actual holiday
                       date. Should the holiday fall on a weekend, the paid holiday will still be the
                       actual holiday date.

              2.       All entities normally closed on weekends will close on Friday if the holiday falls
                       on Saturday or they will close on Monday if the holiday falls on Sunday. The
                       Friday or Monday will be the leave day.

      CHI-1939680v6                                    44
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13609 Filed 05/03/21 Page 48 of 71




              3.      Should the holiday fall on Sunday and the Monday leave day begins the next
                      twenty-eight (28) day work cycle, the leave day will be the Friday prior to the
                      holiday or a day mutually agreed upon between the employee and the
                      Department. Should that Friday already be used in conjunction with Article 31
                      (Excused Time), then the leave day will be Thursday or a day mutually agreed
                      upon.

              4.      Leave days shall not be scheduled on any designated holiday.

      C.      Holiday Compensation.

              1.      Holiday Premium. Employees who are required to work on a holiday shall
                      receive one and one half time (1.5x) premium pay in addition to the regular day’s
                      pay.

              2.      Hours and Shifts. Any Employee who works a shift during which four (4) or
                      more regularly assigned hours, excluding overtime, extend into a paid holiday,
                      shall be entitled to holiday pay for the entire duration of the shift; provided
                      however, that the application of this rule shall not entitle any Employee to more
                      than one shift of holiday pay for all regular hours worked on a single holiday.

      D.      Rotation of Work Opportunity. The scheduling of Employees to work on holidays shall
              be on a seniority rotation basis with separate rotating rosters for each precinct platoon, as
              specifically outlined in sub-section E. 5. and for each non-precinct entity in accordance
              with past practice.

      E.      Preparation and Maintenance of Holiday Rosters.

              1.      Posting Holiday Details. Holiday detail sheets will be posted on bulletin boards
                      in each precinct, or entity.

                      Under normal conditions, holiday assignments for Employees shall be posted
                      seven (7) days prior to the holiday. In instances where two (2) holidays fall
                      within a fourteen (14) day period, assignments for the second holiday will be
                      posted a minimum of two (2) days in advance of that holiday. Should a position
                      become available after the holiday detail sheet is posted and the Department
                      decides to fill that position, supervisors will ask the next eligible Employee(s) if
                      that Employee desires to work the holiday. Those Employees who decline under
                      this circumstance shall not be considered a refusal, and shall be entered on the
                      roster as “Holiday-Late Posting” (HLP).

                      If the holiday detail sheet is posted prior to the required contractual posting time,
                      management maintains the right to make any change. If the change in the holiday
                      detail is made, management shall notify any Employee affected by such change as
                      soon as possible, as well as the local Union representative. The corrected holiday
                      detail sheet must be re-posted within the minimal contractual posting time
                      limitation.



      CHI-1939680v6                                    45
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13610 Filed 05/03/21 Page 49 of 71




                      Once the holiday detail sheet is posted, within the minimum contractual posting
                      time, it may be changed only to correct an error or to fill a vacancy, and after
                      notice to a local Union representative. Supervisors shall notify any Employee
                      affected by such change as soon as possible.

                      Holiday detail sheets are posted in order to give all parties advance notice of
                      assignments and to permit the Union steward or the Employee to bring any
                      mistakes to the attention of his or her immediate supervisor in a timely manner.
                      An Employee shall notify his or her immediate supervisor of an error on the
                      holiday detail sheet immediately upon discovery, so that it may be corrected
                      forthwith. If an Employee who knows or reasonably should have known of an
                      error fails to provide such notice of the error to his or her immediate supervisor,
                      the error is not grievable.

              2.      Removal and Addition of Names. Throughout the year, Employee names will be
                      removed and added to various holiday rosters due to transfers, shift changes,
                      recalls from lay-off, new hire, etc. Employees shall be added to a roster
                      according to their respective seniority date. An Employee being added to a roster
                      with a common seniority date of an Employee already on the roster shall be
                      placed on the roster immediately below the Employees already on the roster with
                      the same seniority date.

                      If the holiday detail sheet has already been posted, in accordance with the
                      contractual time limits for posting, these Employees shall be placed on the roster
                      for the next holiday and not considered for the holiday already posted, unless new
                      vacancies arise prior to the holiday.

              3.      Holiday Rotation.     Holiday rotation shall continue in accordance with the
                      following rules:

                      a.      The holiday rotation roster shall have continual rotation and will not start
                              anew each July lst.

                      b.      The following steps shall be utilized for preparing a holiday roster.

                            i.       A supervisor preparing the holiday roster shall list all members, in
                                     descending seniority order, who will be considered to work that
                                     respective holiday. The removal and addition of names to the
                                     holiday roster shall conform with the preceding contractual holiday
                                     requirements. A member’s holiday status for the previous holiday
                                     shall be taken into consideration regardless of where he worked or
                                     what roster he was on.

                           ii.       Once this step is completed, the supervisor shall begin by first
                                     selecting, in descending seniority order, the members who were
                                     carried with a “Special Red Designation” (i.e., Holiday-Furlough,
                                     Holiday-Sick, Holiday-Jury Duty, Holiday-Suspended, Holiday-
                                     Limited Duty, Holiday-Late Posting, Holiday-Disabled, Holiday-
                                     Absent with Leave, Holiday-Funeral Leave) during the previous

      CHI-1939680v6                                    46
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13611 Filed 05/03/21 Page 50 of 71




                                        holiday. When selecting members who were carried with a Special
                                        Red Designation, the supervisor shall begin at the starting point of
                                        the previous holiday and continue through the entire holiday roster
                                        once before ending at the current holiday’s starting point.

                           iii.         Once the members with Special Red Designations have been
                                        selected, members with a red “Holiday” designation shall be
                                        chosen, in descending seniority order, beginning at the starting
                                        point of the current holiday and shall continue through the entire
                                        holiday roster, returning to the current holiday’s starting point.

                           iv.          Once all members with red designations are selected for work
                                        opportunities, the continual rotation shall continue from where it
                                        left off the previous holiday (the current “starting point”), selecting
                                        in descending seniority order members with black “holiday
                                        worked”, “holiday refused” or no previous status, until sufficient
                                        personnel are obtained.

                            v.          A new cut off point will then be marked immediately following the
                                        last member selected for a holiday worked opportunity.

                      c.         Members eligible to work are to be selected to work scheduled hours
                                 which correspond to the roster from which they are selected.

                      d.         Employees who have flexible starting times (such as Cruiser crews, 30
                                 Series, Morality crews, etc.) shall have their normal starting times
                                 designated at the beginning of the twenty-eight (28) day work cycle in
                                 which the holiday(s) fall. This designation is to be used for holiday rosters
                                 only and shall not impede management from changing their working
                                 hours.

              4.      Precinct Rosters. All precinct personnel shall be included on one of the following
                      rosters with the exception as noted in E.4.e. below:

                      a.         Platoon One. All employees who start work between 12:00 a.m. and 3:59
                                 a.m.

                      b.         Platoon Two. All employees who start work between 4:00 a.m. and
                                 10:59 a.m. (including staff personnel).

                      c.         Platoon Three. All employees who start work between 11:00 a.m. and
                                 4:00 p.m.

                      d.         Platoon Four. All employees who start work between 4:01 p.m. and
                                 11:59 p.m.

                      e.         The exception to the above is personnel assigned to Special Operations
                                 (formerly Special Events Section) of the First Precinct. Only First
                                 Precinct Special Operations shall maintain their own rosters.

      CHI-1939680v6                                       47
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13612 Filed 05/03/21 Page 51 of 71




                             NOTE: These start times shall not include roll call time, nor desk
                             personnel who start earlier than normal hours.

              5.      Entries on Roster. Entries on the holiday roster shall be made in the following
                      manner:

                      a.     Worked -W- (Black) - indicates an employee worked the holiday.

                      b.     Holiday Refused -HR- (Black) - indicates an employee was given the
                             opportunity to work, but refused.

                      c.     Holiday -H- (Red) - indicates an employee was not up to work the holiday
                             and was on holiday.

                      d.     Holiday Furlough -HF- (Red) - indicates an employee was eligible to work
                             the holiday but declined the holiday due to being on furlough. The
                             furlough period for this designation shall consist of the ten (10) furlough
                             days as well as the customary number of leave days and up to three (3)
                             Bonus Vacation Days attached to the furlough period.

                      e.     Holiday Sick -HS- (Red) - indicates an employee was eligible to work the
                             holiday, but was unable to do so because of being sick.

                      f.     Holiday Disabled -HD- (Red) - indicates an employee was eligible to
                             work the holiday, but was unable to do so because of being disabled.

                      g.     Holiday Jury Duty -HJD- (Red) - indicates an employee was eligible to
                             work the holiday, but was unable to do so because of jury duty.

                      h.     Holiday Limited Duty -HLD- (Red) - indicates an employee was eligible
                             to work the holiday, but was not allowed to do so due to the fact that there
                             was no job openings available for an employee on limited duty status.

                      i.     Holiday Late Posting -HLP- (Red) - indicates an employee was not
                             eligible to work the holiday when the holiday roster was posted but after
                             the posting was asked due to a position becoming available and declined.

                      j.     Holiday Suspended - HX - (Red) - indicates an employee was eligible to
                             work the holiday but was suspended on the holiday and had disciplinary
                             proceedings still pending or an employee who was serving a suspension of
                             more than thirty (30) days as a result of completed disciplinary action
                             (after all appeals have been exhausted).

                             An officer serving a suspension of thirty (30) days or less as a result of
                             completed disciplinary action (after all appeals have been exhausted) shall
                             be allowed to work a holiday if eligible.

                      k.     Holiday Absent with Leave - HAWL - (Red) - indicates an employee was
                             eligible to work the holiday but was on an authorized absence with leave.

      CHI-1939680v6                                   48
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13613 Filed 05/03/21 Page 52 of 71




                      l.     Holiday Funeral Leave - HFL - (Red) - indicates an employee was eligible
                             to work but was on funeral leave.

              6.      Insufficient Personnel. In the event that insufficient Employees volunteer to work
                      the holiday, reverse seniority shall prevail and Employees shall be ordered to
                      work.

                      Exceptions to this draft shall be as follows:

                      Employees on furlough (inclusive of the customary number of attached leave
                      days) shall be bypassed in a draft situation.

      F.      Special Rules Affecting Rotation.

              1.      Sick or Disabled Absences. Employees who are scheduled to work a holiday, but
                      are unable to do so due to being sick or disabled, shall be carried “Holiday Sick”
                      (HS) or “Holiday Disabled” (HD).

              2.      Employees on Furlough. For purposes of this Article, a furlough period includes
                      the customary five (5) attached leave days and up to three (3) attached Bonus
                      Vacation Days. The furlough includes the holiday even if it should fall on the first
                      day of the regularly scheduled furlough.

                      Employees scheduled for a furlough period that would include a holiday shall not
                      be charged with a furlough day for the holiday.

                      Employees on furlough when a holiday occurs shall be offered an opportunity to
                      work the holiday if their names are reached on the roster. If the Employee accepts
                      the opportunity, the entry made on the holiday roster shall be the same as if the
                      holiday had been worked while not on furlough. In order to assure that the
                      holiday scheduling of such Employees can be properly managed, prior to starting
                      their furlough or prior to the minimum posting date, whichever is earlier, the
                      employees must inform their immediate supervisor in writing whether or not they
                      desire to work the holiday.

                      The supervisor shall take into account the Employee’s choice when making up the
                      holiday detail sheet. Furloughed Employees who have expressed a desire to work
                      shall be responsible for ascertaining from the Precinct Desk Supervisor or the
                      supervisor in charge, whether or not they are scheduled to work the holiday.
                      Furloughed Employees who have expressed the desire to work and who
                      successfully receive a holiday assignment are subject to all the employment and
                      payroll rules of other non-furloughed Employees also scheduled to work and
                      should they fail to report to their assignment, the fact that they are on furlough
                      will not be an acceptable excuse.

                      Employees on furlough when a holiday occurs, and who decline their opportunity
                      to work, shall not be considered as having refused holiday work and shall be
                      entered on the roster as “Holiday Furlough” (HF).


      CHI-1939680v6                                    49
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13614 Filed 05/03/21 Page 53 of 71




                      Employees on furlough when a holiday occurs and who did not have an
                      opportunity to work because their names were not reached on the roster, shall be
                      entered on the roster as “Holiday” (H).

              3.      Employees on Limited Duty. Employees on limited duty status are fully entitled
                      to participate in the normal continuous rotation of holiday work opportunities.
                      However, their opportunity to receive an assignment is restricted to those
                      assignments which can be performed by the Employee on limited duty. Limited
                      duty positions shall not be created by bumping regular assigned Employees from
                      their respective regular job assignments.

              4.      Employees Temporarily Assigned-Out to Other Commands.                 Employees
                      assigned-out to other commands shall remain on the holiday roster of their parent
                      command and are fully entitled to work a holiday assignment at that command
                      when their name is reached with the following exceptions:

                      a.     Belle Isle Summer Detail (Harbormaster Section). Employees assigned
                             to this detail shall be removed from their parent command’s holiday roster
                             and placed on the appropriate roster maintained at the Harbormaster
                             Section.

                      b.     Auto Theft. Employees assigned into this entity, on limited duty status
                             (usually long term limited duty employees), shall be removed from their
                             parent command’s holiday roster and placed on the appropriate holiday
                             roster maintained at the Auto Theft.

                      c.     Telephone Crime Reporting Section. Employees assigned into this
                             section (usually long term limited duty employees), shall only be allowed
                             to work at TCRS if they are eligible to work on their parent command’s
                             roster. If no work is available at this section, the employee retains the
                             right to work at his parent command if a position is available.

                      d.     Field Duty Officer - Driver. The Field Duty Officer may select a driver
                             of his choice for a holiday regardless of whether or not the employee is
                             eligible to work the holiday on the parent command’s roster.

                      e.     Identification Section. Employees assigned into this section (usually
                             long term limited duty employees), shall only be allowed to work at the
                             Identification Section if they are eligible to work on their parent
                             command’s roster. If no work is available at this section, the employee
                             retains the right to work at his/her parent command if a position is
                             available.

                      f.     224-DOPE. Employees assigned into this section (usually long term
                             limited duty employees) shall only be allowed to work at 224-DOPE if
                             they are eligible to work on their parent command’s roster. If no work is
                             available at this section, the employee retains the right to work at his
                             parent command if a position is available.


      CHI-1939680v6                                  50
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13615 Filed 05/03/21 Page 54 of 71




                      g.     Records and Statistics Section. Employees assigned into this section
                             (usually long term limited duty employees), shall only be allowed to work
                             at this section if they are eligible to work on their parent command’s
                             roster. If no work is available at this section, the employee retains the
                             right to work at his parent command if a position is available.

      G.      Job Assignment. Employees working a holiday shall normally work their regular
              assignments. In the event that the Employee’s regular assignment is not scheduled to be
              worked on the holiday, those Employees shall be assigned to other vacant detail sheet
              assignments from within their respective roster. Job bumping shall not be allowed among
              those Employees eligible to work the holiday.

                                  30. FLOATING HOLIDAYS
      Each employee shall be entitled to four (4) floating holidays. Each floating holiday shall be a
      day off work at the regular straight time rate of pay. An officer may request to take his floating
      holidays by submitting a request in writing to his commanding officer. An officer may request
      to take his floating holidays in any sequence, provided, however, that a floating holiday may not
      be attached to a furlough. This request will be reviewed for the availability of personnel by his
      commanding officer. In all cases, preference shall be given for Employee requests for use of
      floating holidays over requests for bonus vacation days (Article 36) or excused time (Article 31).
      Seniority will be a prime consideration when several officers request to use a floating holiday on
      the same day.

      This article does not affect or limit the right of the Department to determine the number of
      employees assigned to work. Consequently, there will be no increase in the total number of
      employees who are absent and the effect of granting an employee’s request could be that the
      seniority leave day request of another employee (even if more senior) will be denied.

      Floating holidays must be used in the fiscal year that they are earned and shall not be carried
      over to a subsequent fiscal year. The Department shall ensure that floating holidays are
      expended proportionately throughout the year and are not carried until the last months of the
      fiscal year; therefore, on April 1st, the commanding officer shall assign any unselected floating
      holidays at his or her discretion.

                                       31. EXCUSED TIME
      Employees shall be granted eight (8) hours of “Excused Time” on Good Friday or the last eight
      (8) hours on the last scheduled day prior to Good Friday, eight (8) hours of “excused time” on
      Easter or the last eight (8) hours on the last scheduled day prior to Easter, and eight (8) hours of
      “Excused Time” on the last scheduled paid day before Christmas Day and before New Year’s
      Day and Martin Luther King’s Birthday provided they are on the payroll through the holiday in
      question. Employees required to work any portion of the “Excused Time” on these days will
      receive equal time off for hours worked or straight time cash at the option of the Chief of Police.
      No holiday premium will be paid for work on these days.




      CHI-1939680v6                                   51
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13616 Filed 05/03/21 Page 55 of 71




               32. PENSION PROVISIONS/PLAN OF ADJUSTMENT
      During the term of this Agreement Employees will be entitled to retirement benefits in
      accordance with the terms of the Memorandum of Understanding Regarding the Police and Fire
      Retirement System of the City of Detroit, Michigan. The terms of the Memorandum of
      Understanding may be modified to conform with any plan of adjustment approved by the United
      States Bankruptcy Court.

                                          33. RECALL PAY
      Employees are entitled to recall pay at time and one-half (1½ ) rate if recalled to duty after
      reporting off duty and before their next tour of duty. A minimum of two (2) hours will he
      granted to a recalled member. Travel time, not to exceed one-half (½) hour each way shall be
      granted for travel to and from the duty station when the total time worked exceeds one (1) hour.

      The recall rate shall not be paid when a member works continuously beyond his normal tour
      without first being relieved. The recall rate shall terminate as of the time that his next regular
      tour was scheduled to begin and he will not receive any travel time back to his residence.

      Recall pay shall not be granted when:

      A.      A mobilization has been ordered;

      B.      Leave, furlough, bonus vacation days or compensatory time days have been canceled;

      C.      A member has been directed to appear in court;

      D.      A member is given notice of a change in shift starting time prior to his going off duty.

                                          34. SICK LEAVE
      A.      Sick Banks.

              1.      Current sick bank is designated as that sick time accumulated at the rate of one (1)
                      day for every calendar month in which a member has been credited for not less
                      than eighteen (18) paid time days, excluding overtime.

              2.      Current sick time bank shall accumulate without limitation, provided that, for
                      Employees who on July 1st of any year have accumulated more than 400 hours of
                      sick time (including both unused current sick time and unused seniority sick bank
                      time), the Department at its discretion may pay out all or any portion of the
                      Employees’ accumulated sick time in excess of 400 hours. Such payments shall
                      be in accordance with the following terms:

                      a.     The Department will announce whether it has elected to pay out sick time
                             under the terms of this Agreement up to one year in advance. For
                             example, as soon as practicable after the effective date of this Agreement,
                             the Department will announce whether it will elect to pay out sick time

      CHI-1939680v6                                    52
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13617 Filed 05/03/21 Page 56 of 71




                             accrued as of July 1, 2015. As soon as practical after July 1, 2015, the
                             Department will announce wither it will elect to pay out sick time accrued
                             as of July 1, 2016, and so on.

                      b.     At the time it makes such announcements, the Department will also
                             announce the amount of sick time that it may buy out.

                      c.     Any payments under this Section shall be made at 85% of the Employee’s
                             base rate of pay during the previous fiscal year. If the Department elects
                             to make a payment under this provision, the payment shall be made on the
                             first pay date after December 1, or earlier if agreed upon by both parties.
                             For example, any payment made based upon sick time accrued as of July
                             1, 2015 shall be made on the first pay date after December 1, 2015, unless
                             otherwise mutually agreed. Notwithstanding any other provision of this
                             Agreement, an Employee may elect to have a payment made pursuant to
                             this Section contributed into the Employee’s Annuity Savings Account in
                             lieu of a cash payment.

              3.      Employees shall no longer accumulate additional seniority sick bank time.

      B.      Sick Time Credit. The term “sick time” shall be defined as absence due to illness or
              injury of the member, to exposure to a contagious disease and to the attendance upon
              immediate members of the family of the member of the Department living within his
              household, including husband, wife, children, father, mother, sister, brother and relatives
              living in the same household regardless of degree of relationship. The granting of sick
              time for attendance upon these relatives is not limited to any given number of days per
              fiscal year; however, no more than three (3) days will be granted in one instance.

              This sick time is granted to permit the member to make arrangements for care of the ill
              person so that he may return to duty. When it comes to the attention of the Department
              that a member is abusing sick leave, the Chief of Police may cause an investigation to be
              initiated. Such investigation may result in disciplinary action, consistent with this
              Agreement.

      C.      Deductions from the Sick Bank. Sick banks, both current and seniority, are designed to
              provide for non-duty connected illness or disability. No deduction from either current or
              the seniority sick banks shall be made for any sick time resulting from a service-
              connected illness or disability which is certified by a physician designated by the
              Department.

              Sick time shall be charged first to the current sick bank and secondly, to the seniority sick
              bank, in periods of not less than half-days.

              When a member starts his shift but is unable to finish the shift because of sickness, sick
              time will be deducted in the following manner. If less than four (4) hours has been
              worked, the Employee will be charged half a sick day and credited with half a work day.
              If four (4) or more hours have been worked from the beginning of the shift, the Employee
              will be credited with a full work day.


      CHI-1939680v6                                    53
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13618 Filed 05/03/21 Page 57 of 71




              During a period of illness, only that time which would be actual working time will be
              deducted from the sick bank. Illness or injury during furlough time may be changed to
              sick time in lieu of the member’s furlough, provided such illness or injury during the
              furlough shall be reported forthwith to the member’s commanding officer and to a
              physician designated by the Department. Such illness or injury will be verified by the
              physician designated by the Department. The unused portion of the member’s furlough
              will be rescheduled and used immediately following recovery from the illness or injury
              which made the change necessary.

      D.      Reporting Illness or Disability. When any member becomes sick, the officer in charge
              must be notified without delay and informed where the member is confined. If a member
              is hospitalized, the officer in charge shall be notified and will cause a physician
              designated by the Department to be notified, during the next regular office hours, of the
              nature of the illness and the hospital to which the member was admitted. Members
              unable to report for duty because of sickness shall have their duty station notified not less
              than one (1) hour before roll call daily, in order to remain in a sick status. An Employee
              calling in sick in accordance with this provision will not be allowed to work until his next
              scheduled tour of duty. Under normal circumstances, a physician designated by the
              Department will not make visits to an individual member’s home. When attending a sick
              officer, a physician designated by the Department shall issue him a notice stating the
              nature of the illness and whether or not the officer shall remain off duty. The notice must
              be turned in to the commanding officer when the member returns to duty.

              Employees on extended sick leave (more than three (3) work days) are required to keep
              their commands informed of their incapacity and expected date of return. In this
              instance, the Employee shall not be required to call in daily as specified above.
              Employees on sick leave of thirty (30) days or more may be ordered to obtain verification
              by a physician designated by the Department.

      E.      Limited Duty. Officers placed on limited duty by a physician designated by the
              Department shall report immediately with their limited duty authorization slip to an
              appropriate command designated by the Chief of Police. Said command will determine
              an appropriate limited duty assignment and notify the member’s commanding officer.
              Limited duty assignments are made by the Chief of Police under the authority granted by
              Article VII, Chapter VIII, Section VI, paragraph (4) of the City Charter and are subject to
              the limitations thereof.

              An officer on limited duty normally shall not wear a uniform except under emergency
              conditions when ordered by his commanding officer. In such cases, however, the officer
              shall not leave the building or travel to and from work in uniform.

              The number, location, and duration of restricted duty assignments, as well as whether a
              restricted duty assignment vacancy exists, shall be within the discretion of the
              Department.

              The Department may give preference for restricted duty assignments to those Employees
              whose injury or illness is determined to have occurred in the line of duty over Employees
              whose injury or illness is determined to have occurred not in the line of duty. When the

      CHI-1939680v6                                    54
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13619 Filed 05/03/21 Page 58 of 71




              Department determines that the number of restricted duty Employees exceeds the
              available number of restricted duty assignments, in accordance with the limitations
              enumerated below, Employees having or seeking a restricted duty position for a non-duty
              related medical condition may be required to utilize sick time benefits. An Employee
              who is required to utilize sick time benefits by operation of this paragraph but who has no
              accumulated sick time will be allowed to use other accumulated time to cover the
              absence.

              When an Employee having a non-duty related injury or illness is displaced from a
              restricted duty position, or when no restricted duty position is currently available, the
              Employee shall be placed on a waiting list for assignment to an available restricted duty
              position. Placement on this waiting list shall be by departmental seniority and placement
              in restricted duty positions shall be made in seniority order provided the Employee is able
              to perform the duties of the particular restricted duty position.

              Notwithstanding the provisions of this Article, Employees on restricted duty for a non-
              duty related injury or illness and who are able to perform the duties of their regularly
              assigned job shall not be subject to being displaced by either an employee having a duty-
              related injury or illness or by a more senior employee having a non-duty related injury or
              illness.

              The Department shall maintain a continuous listing of those Employees who are
              restricted duty which shall indicate their duty assignment, seniority date, whether the
              status is for a duty or non-duty related reason, and other relevant data the parties may
              from time to time agree upon. The Department shall provide the Association with a
              copy of the list on any day that a change has been made.

              Nothing in this Article shall affect the right of the Department under the Charter of the
              City of Detroit to refer Employees for duty or non-duty disability pensions.

      F.      Determination of Sick or Disability Status. It is the responsibility of a physician
              designated by the Department to determine whether the illness or injury of a member is
              duty incurred. When a member sustains an original injury in the performance of duty
              during his regular duty hours, and is unable to complete his tour of duty, he shall be
              carried disabled. At all other times, he shall be carried sick until a final determination is
              made by a physician designated by the Department. Under no circumstances shall the
              status of a member being carried sick or disabled be changed in the time book or other
              Department records without the written authorization of a physician designated by the
              Department. A physician designated by the Department shall authorize such change by
              preparing an inter-office memorandum. Employees are automatically assigned to Platoon
              Two while disabled.

      G.      Report for Duty When Ordered. Any member reported fit for duty by a physician
              designated by the Department who does not report at the roll call indicated by the
              physician shall be considered absent without leave.

      H.      Return to Duty. To assure proper health safeguards for Department personnel, members
              who are ordered off duty by a physician designated by the Department due to illness or
              injury, whether service connected or not, shall not be returned to active or limited duty
      CHI-1939680v6                                    55
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13620 Filed 05/03/21 Page 59 of 71




              assignments without being certified for such assignment by a physician designated by the
              Department.

      I.      Illness or Injury Services. In non and/or post emergency cases, police personnel who
              have incurred a service connected illness or injury must obtain approval from a physician
              designated by the Department before securing any type of medical attention or treatment
              for the illness or injury, including x-rays and dental care. The Department will not be
              liable for costs so incurred unless prior approval is obtained.

              Officers who are duty disabled or on limited duty shall report for physical examinations
              when directed by a physician designated by the Department. Furthermore as a condition
              for continuing disabled or limited duty status and the benefits thereof, the officers must
              submit to all reasonable examinations ordered by the Department. Failure to do so will
              lead to immediate termination of such status and benefits.

      J.      Depletion of Sick Banks. If a member is unable to perform police duties when all his
              sick banks are exhausted, he shall be dropped from the payroll unless he is eligible for
              non-duty connected retirement benefits. A member exhausting his sick banks who has
              completed five (5) or more years of service and who is otherwise eligible for non-duty
              connected disability retirement, may be retired at his own request or at the request of the
              Chief of Police subject to the approval of the Retirement Board.

              A member may apply for reinstatement within two (2) years of being removed from the
              payroll if he recovers sufficiently from his illness or injury to return to duty. He/She may
              be reinstated in the same status as when he/she left upon proper certification by a
              physician designated by the Department and appointment by the Chief of Police.

      K.      Retirement and Death Sick Leave Payment. Immediately preceding the effective day of a
              member’s retirement, exclusive of duty and non-duty disability retirement, or at the time
              of a member’s death, he or his estate shall be entitled to pay for his unused accumulated
              sick banks as follows:

              An Employee shall receive full pay for eighty-five percent (85%) of the unused
              accumulated sick bank amounts.

              If a member is granted a duty or non-duty disability retirement, he shall be entitled to a
              reimbursement of unused sick time according to the preceding formula, upon attaining
              his normal full duty retirement date and petitioning the Chief of Police for such
              reimbursement.

           35. REGULARITY IN THE USE OF SICK LEAVE BENEFITS
      A.      General. The Detroit Police Department is responsible for providing efficient law
              enforcement services. Maximum attendance is required from all members if this
              responsibility is to be fulfilled.

              It is, therefore, necessary to identify and correct members who have developed a pattern
              of regularity in the use of their sick leave benefits. Therefore, all commanding officers


      CHI-1939680v6                                   56
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13621 Filed 05/03/21 Page 60 of 71




              are to review the records of their members quarterly: each January 10th, April 10th, July
              10th and October 10th.

      B.      Counseling Regarding Regularity in the Use of Sick Leave Benefits. Upon review and
              approval of the commanding officer, a ranking member shall counsel subordinates whose
              records show such an indication. The counseling session shall include a discussion of the
              pattern observed to date, and the member’s reason for absences. Where appropriate, the
              supervisor shall explore positive future courses of available action with the member in an
              effort to assist the member in adopting corrective measures. At the end of the counseling
              session, the supervisor shall prepare a detailed report of the meeting and attach the report
              to the member’s Detroit Police Department Attendance Card, D.P.D. 350-C. A copy of
              this report shall be provided to the member. Note, however, that said counseling does not
              constitute disciplinary action and as such may not be noted in the administrative
              counseling register. Further, said detailed report shall be removed from D. P. D. 350-C at
              the end of six months providing no further corrective action has been necessary since the
              initial counseling session with the member.

      C.      Continued Pattern of Regularity in the Use of Sick Leave Benefits. If counseling does
              not produce improved attendance, and the supervisor, after meeting with the member,
              determines that no satisfactory reason exists which would justify said continued
              regularity in sick leave usage, upon review and approval of the commanding officer, the
              supervisor shall personally serve the member with a Notice of Regularity in the Use of
              Sick Leave Benefits, D.P.D. 350, and forward the necessary copies as outlined on the
              form. The supervisor shall inform the member of the requirement to obtain
              documentation of the illness or of the illness of a family member which necessitates the
              member’s absence from work. This documentation shall consist of a statement from a
              physician concerning the illness for each sick day taken during the next three month
              period. This requirement must be strictly adhered to during said period of time, except
              where the commanding officer is convinced that a reasonable basis exists for not
              requiring a physician’s note in conjunction with a particular absence. The member will
              also be advised that said physician’s documentation shall be submitted on D.P.D. 350-A,
              or an equally detailed doctor’s note, and shall be presented to the member’s section
              commanding officer within three days after returning to duty. This documentation is
              subject to the review of the department physician. Commanding officers shall ensure that
              the copy of D.P.D. 350-A which is submitted by the member is forwarded to the Medical
              forthwith for retention.

              A member who has been served with a Notice of Regularity in the Use of Sick Leave
              Benefits, D.P.D. 350, and is being carried sick due to personal illness or injury or for
              attendance upon a sick family member, must secure permission from the officer in charge
              of the member’s entity or, if the entity is closed, from the officer in charge of the precinct
              in which the member resides before the member may leave the member’s place of
              confinement. This restriction does not apply on leave days or non-duty hours.

              “Improved attendance” as used herein shall mean that the member has consistently and
              reliably demonstrated the capacity to provide proper and sustained attendance within the
              meaning of this article. For purposes of interpreting the preceding sentence, the word


      CHI-1939680v6                                    57
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13622 Filed 05/03/21 Page 61 of 71




              “sustained” shall be construed to mean an improvement which demonstrates that the
              abuse has been eliminated.

              The supervisor shall further advise the member that failure to satisfactorily comply with
              the regulation will result in the designation of each working day taken as “Sick” to
              “Absent No Pay.” The supervisor shall also advise the member that unless attendance
              improves, additional disciplinary action may be imposed.

      D.      Improved Attendance. A member placed on a D.P.D. 350 will have his attendance
              reviewed on a quarterly basis and will be removed from the restrictions of that provision
              upon a showing of improved attendance within the meaning of the above definition.

      E.      Extended Medical Treatment. Members who document that their illness requires
              treatment on a regular basis may submit D.P.D. 350-A for that ailment on a semi-annual
              basis. The physician designated by the department, however, may want further
              verification concerning said ailment, and accordingly the member may be required to see
              the physician.

      F.      Failure to Present Documentation by a Physician. If failure to comply with the regulation
              set forth on D.P.D. 350 occurs, the section commanding officer shall personally serve the
              member with a Notice of Failure to Present Documentation by a Physician, D.P.D. 350-
              B, and shall forward the necessary copies as outlined on the form. A designation of
              “Absent No Pay” will be entered in timekeeping records.

      G.      Appeals. Any member may file a grievance regarding the imposition of a Notice of
              Regularity in the Use of Sick Leave Benefits, D.P.D. 350. If the grievance is granted, the
              arbitrator shall be empowered to provide an appropriate remedy, including
              reimbursement of expenses for medical visits ordered by the Department.

                                36. BONUS VACATION DAYS
      Bonus vacation days are granted for unused current sick time. Officers who have accumulated a
      minimum of thirty-five (35) sick days including both current and seniority days and have a
      minimum of six (6) years of service on July 1st of each year will be credited with one-half (1/2)
      of the unused current sick time from the previous fiscal year up to six (6) days. An officer may
      request to take his bonus vacation days in any sequence (except when attached to a furlough as
      stated below) by submitting a request in writing to his commanding officer. This request will be
      reviewed for the availability of personnel by his commanding officer. Seniority will be a prime
      consideration when several officers request the same period of time off.

      An officer shall be allowed to use up to three (3) bonus vacation days in conjunction with a
      furlough. The request to utilize bonus vacation days in this manner must be included in the leave
      day request. Bonus vacation days, when connected to a furlough, shall not be canceled unless
      the accompanying furlough is canceled. This article does not affect or limit the right of the
      Department to determine the number of employees assigned to work. Consequently, there will
      be no increase in the total number of employees who are absent and the effect of granting an
      employee’s request could be that the seniority leave day request of another employee (even if
      more senior) will be denied.

      CHI-1939680v6                                   58
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13623 Filed 05/03/21 Page 62 of 71




      The Department must insure that bonus vacation days are expended proportionately throughout
      the year and are not carried until the last months of the fiscal year; therefore, on April 1st, the
      commanding officer shall assign the remaining bonus vacation days at his discretion. Any
      request to utilize unused bonus vacation days in conjunction with a furlough scheduled during
      the months of April, May or June must be submitted to the commanding officer by April 1st or
      those bonus vacation days will be assigned.

      Bonus vacation time shall be deducted from the member’s bonus vacation bank before
      compensatory time shall be taken.

                                           37. JURY DUTY
      A.      All Employees who serve on jury duty on regularly scheduled work days exclusive of
              leave days, furlough days and holidays will be paid the difference between their pay for
              jury duty and their regular straight time pay for all days they are required to serve on jury
              duty.

      B.      In the event that an Employee reports for jury duty but does not actually serve on jury, he
              will be paid the difference between the jury pay received and his regular day’s pay and be
              excused for the day.

      C.      In order to receive payment for jury duty supplementation, an Employee must have been
              regularly scheduled to work on a non-overtime basis, must give reasonably prompt prior
              notice to his supervisor that he has been summoned for jury duty, and must furnish
              satisfactory evidence that he reported for or performed jury duty on the days for which he
              claims such payment, provided that the commanding officer shall have discretion in
              seeking to have the Employee excused when his services are essential.

      D.      Employees shall have the option when called to jury duty to use vacation, bonus vacation
              or compensatory time for such service. In that event, the Employee will not be required
              to turn in his jury pay. However, the Employee must notify the Department of his desire
              to exercise this option prior to the first date of jury service.

              If the date for jury duty falls upon a day when the Employee is scheduled to work other
              than Platoon 2, the Department, upon request of the Employee, will rearrange the
              Employee’s working schedule so that he will be carried working Platoon 2 on that
              date(s). If the date for jury duty falls upon a holiday an Employee is scheduled to work,
              the Employee shall be allowed to attend jury duty without loss of the Employee’s holiday
              work opportunity.

      E.      For payroll purposes, jury duty shall be considered as time worked.

      F.      An Employee on jury duty will be continued on the payroll and be paid at his straight
              time hourly rate of his normally scheduled hours of work. Upon return from jury duty,
              the Employee shall present evidence of the amount received from such jury duty and
              return that amount to the City, less any mileage allowance paid for the jury service.




      CHI-1939680v6                                    59
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13624 Filed 05/03/21 Page 63 of 71




              If an Employee fails to turn in his jury duty payment, the City will hold subsequent
              payments due to the Employee until the City is reimbursed for all time lost due to the
              alleged jury duty service.

      G.      Where Employees once impaneled are excused for days or parts of days, reimbursement
              shall be made only for time served. Employees should otherwise be expected to report
              for work.

                      38. DEATH BENEFITS AND LIFE INSURANCE
      A.      Death Benefits. Section 13-8-8 of the Municipal Code of the City of Detroit currently
              provides a death benefit of ten thousand dollars ($10,000).

              1.       Membership shall be mandatory for regular Employees.

              2.       Contribution

              By the City - $13.30 per year per Employee.

              By the Employee - $.20 per week or $10.40 per year.

      B.      Payment for employees killed or permanently disabled in line of duty:

              1.       A lump sum duty death benefit of ten thousand dollars ($10,000) shall be paid to
                       the beneficiaries or estate of Employees who are killed or who die as a result of
                       injuries sustained in the actual performance of their duties in accordance with the
                       City Council resolution of August 23, 1977, p. 1683, March 26, 1974, p. 627, and
                       March 2, 1954, p. 509.

              2.       A lump sum payment of ten thousand dollars ($10,000) shall be made to any
                       Employee who is totally and permanently disabled from illness or injury arising
                       solely out of the actual performance of his duties. “Totally and permanently
                       disabled” shall be defined exclusively as follows:

                       a.     Total and permanent loss of sight of both eyes.

                       b.     Loss of both legs or both feet at/or above the ankle.

                       c.     Loss of both arms or both hands at/or above the wrist.

                       d.     Loss of any two of the members of facilities enumerated in a., b., c.

                       e.     Permanent and complete paralysis of both legs or both arms or one leg and
                              one arm.

                       f.     Incurable insanity or imbecility. Claims for this payment shall be made in
                              accordance with the City Council resolution of March 26, 1974, p. 627.




      CHI-1939680v6                                    60
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13625 Filed 05/03/21 Page 64 of 71




              3.      Employees who receive a permanent disability under this Article shall be
                      ineligible for the $10,000 Duty Death Benefit described in Section B.1. above.
                      Denial of the $10,000 Duty Death Benefit may be appealed directly to arbitration
                      in accordance with Article 8 (Arbitration) of this Agreement.

      C.      Group Life Insurance:

              A group life insurance program for the Employee and his family is available for all
              members of the Employees Benefit Plan on an optional basis, under the provisions of the
              City Code, Chapter 13, Article 9.

              1.      Membership

                      Optional for members of the Employees Benefit Plan.

              2.      Contributions

                      The City shall pay one hundred percent (100%) of the premium for insurance up
                      to and including thirty-five thousand dollars ($35,000) for each member plus five
                      thousand dollars ($5,000) for each dependent.

                      Additional life insurance may be purchased through this plan at the Employee’s
                      expense.

                      Employees and their dependents who are on a duty disability retirement shall be
                      covered by this program.

                                      39. MISCELLANEOUS
      A.      Relation to Regulations, etc. This Agreement shall supersede any rules, regulations,
              ordinances or resolutions inconsistent herewith.

      B.      Savings Clause. If any article or section of this Agreement or any supplement thereto
              should be held invalid by operation of law or by any tribunal of competent jurisdiction, or
              if compliance with or enforcement of any article or section should be restrained by such
              tribunal, the remainder of this Agreement and supplements shall not be affected thereby,
              and the parties shall enter into immediate collective bargaining negotiations for the
              purpose of arriving at a mutually satisfactory replacement for such article or section.

      C.      Service Weapon. All Employees shall be provided at no charge with their department-
              issued service weapon upon full service retirement. An Employee will have no more
              than thirty (30) days after separation to make such request to the Chief of Police. The
              Department may refuse to give Employees their weapon for good cause shown. Good
              cause will be established where an Employee has pending criminal charges or has been
              convicted of a crime, is subject to departmental investigations, or psychological
              restrictions. Employees who are involuntarily discharged will not receive a service
              weapon.

      D.      Longevity Pay. There will be no longevity payments during the term of this Agreement.

      CHI-1939680v6                                   61
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13626 Filed 05/03/21 Page 65 of 71




      E.      Direct Deposit. Members of the bargaining unit may participate in the direct deposit
              programs offered by the City.

      F.      Lump Sum for Banked Time. Whenever an Employee leaves employment with the
              Department, such Employee will be paid for all banked time, other than sick time, at the
              prevailing rate of pay in effect at the time of separation. This includes, but is not limited
              to separation with a deferred vested pension or under a disability. DROP plan
              participants will only receive payout for banked time when they permanently retire, not
              when they enter the DROP plan. Payments will be paid within ninety (90) days if the
              amount is less than ten thousand dollars ($10,000), and if in excess of ten thousand
              dollars ($10,000), the amount will be made in semi-annual installments over a three (3)
              year period with the installments due on February 1 and August 1 with no interest due.

      G.      Correction of Overpayments and Underpayments. Where by payroll error an Employee
              is underpaid or overpaid, the City is expressly authorized to correct the underpayment or
              overpayment by payroll adjustment. The City shall notify an Employee in writing
              fourteen (14) calendar days prior to making any payroll recovery. Each deduction by the
              City shall be substantiated in the records of the City and shall be identified as to the
              individual Employee.

      H.      Civilianization. Positions within the Department that do not require Michigan
              Commission on Law Enforcement Standards (M.C.O.L.E.S.) certification are subject to
              civilianization at any time. Any reductions in force (lay-offs) resulting from
              civilianization will comply with Article 10.I. (Seniority – Lay-off and Recall).

      I.      Ammunition. All members shall be provided with limited penetration, full expansion
              rounds to be carried on or off duty. Members shall also be allowed to purchase (at their
              own expense) and carry other Department approved limited penetration, full expansion
              rounds.

      J.      Canine. With respect to any assignment made to Canine (K-9), the City may, at its
              discretion, direct the member on said assignment to return all departmental dogs under
              the age of five (5) and all departmental equipment to the department at such time as that
              member is no longer assigned to Canine.

      K.      Care of Departmental Dogs. Employees will be paid at a rate of time and one-half for the
              actual off-duty time spent caring for Department dogs, provided such work is authorized.
              Employees may expend a maximum of forty (40) minutes per day caring for Department
              dogs; provided, however, that Employees may expend additional time per day with the
              prior approval of their supervisor. Employees caring for more than one Department dog
              shall receive an additional fifteen (15) minutes per day, per dog. The Department retains
              the discretion to determine whether time spent in excess of the above is necessary and
              whether it shall be performed while the member is on duty or off duty. Employees shall
              maintain a record, on a form to be established by the Department, of the time spent in the
              performance of these duties, and submit the form to the Administrative Sergeant on a bi-
              weekly basis. This time shall be reported on the bi-weekly Time and Attendance Report
              as kind-of-time 66.



      CHI-1939680v6                                    62
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13627 Filed 05/03/21 Page 66 of 71




                                               40. WAGES
      A.      Wages – September __, 2014 through June 30, 2019 – Base Salary:

              ○       8% wage increase effective first payroll period after the ratification of this
                      Agreement.

              ○       2.5% wage increase effective July 1, 2016.

              ○       2.5% wage increase effective July 1, 2017.

              ○       2.5% wage increase effective July 1, 2018.

              In addition to the foregoing, DPOA members shall receive their pro rata share of the
              lump sum payments described in Section 5 of the July 8, 2014 Term Sheet between the
              DPOA and the City of Detroit. In all other respects, this wage provision supersedes any
              prior agreement or term sheet between the parties.

      B.      Wage Scale. Employees’ wages during the term of this Agreement are set forth in the
              attached Official Compensation Schedule.

      C.      Differential. Salaries for the following classifications will be maintained at the dollar
              differentials indicated for the term of this Agreement.

              1.      Communications Officer - Police Officer (Class Code 33-12-11)

                      Start                      $450 over starting salary of Police Officer
                      After one year             $450 over salary of one-year Police Officer
                      After two years            $450 over salary of two-year Police Officer
                      After three years          $450 over salary of three-year Police Officer
                      After four years           $450 over salary of four-year Police Officer
                      After five years           $450 over salary of five-year Police Officer

              2.      Band Director - Police Officer (Class Code 33-12-14)

                      $821 over maximum of salary of Police Officer

              3.      Assistant Supervisor of Motor Vehicles - Police Officer (Class Code 33-12-15)

                      $862 over maximum salary of Police Officer

              4.      Police Data Processing Programmer - Police Officer (Class Code 33-12-26)

                      Minimum: $589 over maximum salary of Police Officer
                      Maximum: $1,738 over maximum salary of a Police Officer

              5.      Radio Maintenance Officer - Police Officer (Class Code 33-12-12)

                      $862 over maximum salary of a Police Officer


      CHI-1939680v6                                     63
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13628 Filed 05/03/21 Page 67 of 71




              6.      Radio Systems and Planning Officer - Police Officer (Class Code 33-12-13)

                      $1,567 over maximum salary of a Police Officer

              7.      Senior Police Data Processing Programmer - Police Officer (Class Code 33-12-
                      36)

                      Police Lieutenant salary

              8.      Neighborhood Police Officer (Class Code __-__-__)

                      $1,198 over maximum salary of a Police Officer

              9.      Police Detective Trainee (Class Code __-__-__)

                      $1,198 over maximum salary of a Police Officer

              10.     Police Corporal (Class Code __-__-__)

                      Start                      $1,198 over maximum salary of a Police Officer
                      When engaged in field      $2,396 over maximum salary of a Police Officer
                      training operations

                           41. PERMANENT SHIFT PROGRAM
      A.      The permanent shift program shall only apply to precinct job assignments on the day,
              afternoon and midnight shifts that historically rotated among all three (3) shifts. In
              addition, the permanent shift program shall apply to the Harbormaster which for purposes
              of the program shall be treated as an entity distinct from the Northeastern Precinct and to
              the Tactical Response Unit (TRU), Canine and the Public Housing Section. All
              assignments shall be based on seniority provided the Employee is qualified.

      B.      There shall be no periodic re-bidding procedure and vacancies will be filled, if and when
              the Department decides to fill them, in accordance with the following procedures:

              1.      A vacancy exists when an officer performing the assignment is permanently
                      transferred, permanently reassigned, resigns, retires, dies, is separated, or when
                      the Department increases the number of officers on a shift.

              2.      Employees having less than two (2) years of service may be assigned to shifts and
                      assignments within the discretion of management. At the end of two (2) years of
                      service, their positions shall be considered vacancies and shall be subject to the
                      procedures of this Article except where an officer has obtained a permanent job
                      reassignment through the blue slip procedure in accordance with the provisions of
                      Subsection 4 of this Section B.

              3.      Whenever the Department chooses to fill vacancies created as a result of officers
                      completing two (2) years of service, the positions to be filled shall be posted at
                      least ten (10) days before they are permanently filled.

      CHI-1939680v6                                   64
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13629 Filed 05/03/21 Page 68 of 71




              4.      Employees with less than eighteen (18) months service shall not be entitled to use
                      the blue slip procedure to bid on a permanent job assignment. Employees with at
                      least eighteen (18) months and less than twenty-four (24) months service shall be
                      entitled to use the blue slip procedure to bid on a permanent job assignment other
                      than a scout car.

              5.      In addition to the existing procedure for filling job assignments, Employees may
                      also submit a blue slip indicating their preference for a shift change. In
                      accordance with present practice, a blue slip that is accepted shall be reviewed
                      promptly to determine if the Employee is qualified. When vacancies occur the
                      most senior qualified Employee will have his blue slip request honored. All blue
                      slips will expire on October 1 of each year. The blue slip procedure is for the
                      filling of vacancies and no Employee may be bumped. The blue slip of an officer
                      requesting a particular assignment on a shift shall be honored before the blue slip
                      of an officer requesting the shift only.

              6.      In the event of an involuntary reassignment from one shift to another, the officer
                      having the least Department seniority shall be reassigned. This provision shall
                      not affect the Department’s right to reassign members in accordance with B.2.

              7.      Employees transferring into an entity participating in the permanent shift plan,
                      may be initially assigned to shifts and assignments within the discretion of
                      management, provided there are no blue slips on file for the requested shift or
                      assignment. Thereafter, except as limited by the provisions of Subsections 2 and
                      4 of this Section B., Employees may utilize the blue slip procedure in Article 10,
                      Section G.1. While Employees shall be entitled to submit a blue slip for a shift or
                      assignment they shall not be eligible to exercise seniority for shifts for a period of
                      six (6) months or assignments for one (1) year. When Employees are
                      involuntarily transferred to an entity participating in the permanent shift program
                      they shall not be eligible to exercise seniority for shifts for a period of three (3)
                      months or assignments for six (6) months.

      C.      A Joint Labor Management Permanent Shift Committee, consisting of not more than five
              (5) representatives from the Association and five (5) representatives of the Department
              shall meet within five (5) working days of the request by either party. The Committee
              shall meet to discuss issues related to the transition from rotating to permanent shifts and
              to the implementation and continuation of the permanent shifts concept. The Committee
              will attempt to resolve any such issues without the filing of a formal grievance with due
              regard to the fact that in negotiating permanent shifts the parties may not have considered
              all of the effects of such change and that flexibility is necessary and desirable to ensure
              that an orderly transition from rotating shifts to permanent shifts is effectuated.

      D.      The Panel shall retain jurisdiction over the permanent shift award and, upon the request
              of either party, for a period of one (1) year after permanent shifts are implemented, shall
              convene, with substitute delegates if a party so designates, to resolve any dispute
              concerning permanent shifts which has not been resolved by the Committee.




      CHI-1939680v6                                    65
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13630 Filed 05/03/21 Page 69 of 71




      E.      In the case of a bona fide hardship, reviewed and approved by the Chief of Police or the
              appropriate Deputy Chief, management may change an Employee’s shift for a period not
              to exceed thirty (30) days. No other Employee shall be displaced from his shift or
              assignment as the result of such a reassignment. The Association will be notified of any
              approved request. This provision shall be applicable not only to those entities
              participating in the permanent shift plan, but to all assignments on a Department-wide
              basis.

                                42. OUTSIDE EMPLOYMENT
      An Employee may engage in outside business activity or outside employment provided it is not
      inconsistent or incompatible with or does not interfere with the proper discharge of the
      Employee’s duties and responsibilities as a police officer.

      Approval for outside business activity or outside employment must be obtained from the Chief of
      Police, and shall be for a period of one (1) year. The Employee may request it be renewed after
      one (1) year. If an Employee is on the Attendance Control Program (DPD 350), that Employee
      cannot be approved for outside employment, and prior approval can be revoked at the discretion
      of the Chief of Police.

      Approval will not be granted for an outside business activity or outside employment which
      would involve more than thirty (30) hours per week of work, or for work in businesses that are
      regulated by the Detroit Police Department (e.g., bars, adult movies or adult bookstores, etc.)

      Officers may not be in uniform when engaged in any outside employment. Officers may not
      carry or use any equipment or accessories issued by the Department when engaged in any
      outside business activity or outside employment in private or personal security.

      Approval to engage in outside business activity or outside employment shall not be unreasonably
      withheld.

                                         43. WORK AREAS
      The City will provide and maintain safe, clean, sanitary and healthful work premises, facilities
      and equipment. The City shall have the responsibility and authority first to determine what
      constitutes safe, clean, sanitary and healthful work premises, facilities and equipment.
      Grievances alleging a violation, that is, whether or not the City has provided and maintained
      safe, clean, sanitary and healthful work premises, facilities and equipment, shall be entered at the
      last step of the grievance procedure and shall be subject to arbitration.




      CHI-1939680v6                                   66
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13631 Filed 05/03/21 Page 70 of 71




                                          44. DURATION
      This Agreement shall be effective and binding on the Union and the City as of October __, 2014,
      and shall continue in full force and effect through June 30, 2019 (the “Term”). This Agreement,
      including the Term, shall be incorporated into and become a part of both the plan of adjustment
      and order confirming the plan of adjustment, and the Agreement shall be subject to the post-
      confirmation ongoing jurisdiction of the Bankruptcy Court for the full Term, including without
      limitation, whatever jurisdiction the Bankruptcy Court’s retains to enforce the Term. This
      Agreement, including specifically, the Term, shall be duly authorized and approved by and
      consented to by the Mayor of the City of Detroit, the Treasurer of the State of Michigan, and the
      Emergency Manager, with these consents reflected by duly authorized signatures.

      If either party desires to modify this Agreement, it may give written notice to the other party
      during the month of March 2019.

      In the event that the Department and the Association fail to arrive at an agreement on wages,
      fringe benefits, other monetary matters, and non-economic items by June 30, 2019, this
      Agreement will remain in effect on a day-to-day basis. Either party may terminate this
      Agreement by giving the other party a ten (10) day written notice on or after June 30, 2019.

                      IN WITNESS WHEREOF, the parties hereto have executed this

                                Agreement on this __ day of October, 2014.

      DETROIT POLICE OFFICERS                          CITY OF DETROIT:
      ASSOCIATION:

      ___________________________________              ___________________________________
      Mark Diaz, President                             Michael E. Duggan, Mayor

      ___________________________________              ___________________________________
      Bernard Cybulski, Vice President                 James Craig, Chief of Police

      ___________________________________              ___________________________________
      Donna Latouf, Secretary-Treasurer                Office of the State Treasurer, Michigan

      ___________________________________              ___________________________________
      Linda Broden, Sergeant at Arms                   Michael A. Hall, Labor Relations


                                                       ___________________________________
                                                       Kevyn Orr, Emergency Manager




      CHI-1939680v6                                  67
Case 2:17-cv-12752-GAD-CI ECF No. 254-1, PageID.13632 Filed 05/03/21 Page 71 of 71



                                   EXHIBIT I
                        Official Compensation Schedule




      CHI-1939680v6
